Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 1 of 60 PageID# 310




                                Exhibit 2

               Declaration of Ian Stamper Windyboy
             (Chief Operating Officer, Plain Green LLC)
                  With Attachments (Exhibits H-M)
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 2 of 60 PageID# 311




       Ex. 2 - Declaration of Plain Green COO Ian Windyboy Stamper, PG MTD
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 3 of 60 PageID# 312
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 4 of 60 PageID# 313




                      EXHIBIT H
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 5 of 60 PageID# 314




                               THIS AGREEMENT SHALL NOT CONSTITUTE A "NEGOTIABLE INSTRUMENT"

                                                Plain Green Consumer Installment Loan Agreement

                                                              Loan Number: 72770294



                                                                  Plain Green, LLC
                                                               93 Mack Road, Suite 600
                                                                     PO Box 270
                                                              Box Elder, Montana 59521
                                                                   (B66) 420-7157


    PLEASE READ THESE IMPORTANT DISCLOSURES CAREFULLY

    _tiiGH_j;OST CREDIT DISCLO.Jii.!B_E~ THIS LOAN IS NOT INTENDED TO MEET LONG-TERM FINANCIAL NEEDS. THIS LOAN
    SHOULD BE USED ONLY TO MEET SHORT-TERM CASH NEEDS. RENEWING THE LOAN RATHER THAN PAYING THE
    DEBT IN FULL WILL REQUIRE ADDITIONAL FINANCE CHARGES.

    THE LENDER (HEREINAFTER REFERRED TO AS "PLAIN GREEN, LLC" OR "PLAIN GREEN") IS THE TRIBAL
    GOVERNMENTAL LENDING ARM OF THE CHIPPEWA CREE TRIBE OF THE ROCKY BOY'S RESERVATION, MONTNA
    (HEREINAFTER REFERRED TO AS THE "TRIBE"). PLAIN GREEN IS OWNED BY THE TRIBE AND FORMED UNDER TRIBAL
    LAW FOR THE EXPRESS PURPOSE OF GENERATING REVENUE FOR TRIBAL GOVERNMENTAL PURPOSES. PLAIN
    GREEN OPERATES WITHIN THE TRIBE'S RESERVATION. BOTH THE TRIBE AND PLAIN GREEN ARE IMMUNE FROM SUIT
    IN ANY COURT UNLESS THE TRIBE, THROUGH ITS TRIBAL BUSINESS COMMITTEE, EXPRESSLY WAIVES THAT
    IMMUNITY. WAIVER MAY ONLY BE MADE THROUGH A FORMAL, WRITTEN TRIBAL RESOLUTION FROM THE TRIBAL
    BUSINESS COMMITTEE. PLAIN GREEN IS REGULATED BY THE TRIBAL CONSUMER PROTECTION BUREAU (THE
    "BUREAU"). CONSUMERS HAVE THE RIGHT TO SUBMIT COMPLAINTS TO THE BUREAU IN ACCORDANCE WITH THE
    DISPUTE RESOLUTION PROCESS SET FORTH IN THIS AGREEMENT AND SUBJECT TO THE REGULATORY AUTHORITY
    OF THE BUREAU IN ACCORDANCE WITH TRIBAL LAW.


    Lender:                                                                     Borrower's Name:
    Plain Green . LLC                                                           Darlene Jones Gibbs

    Origination Date: 11612016                                                  Borrower's ID:
    This is the date you signed and submitted this Agreement to Plam Green .

    Disbursement Date: On or about 11612016                                     Borrower's Address:
    1 his is the date that tile Loan proceeds are released.



    Effective Date: 117/2016                                                    Borrower's Bank and Account Number for ACH
    Tl1is is the date that interest begins to accrue.                           Transfers (the "Bank Account"):


    Final Payment Due Date: 4/212017
    This is the Loan maturity date.


    In this Plain Green Consumer Installment Loan Agreement (this "Agreement"), "you" and "your" refer to the Borrower
    identified above. "Tribal Law" means any tribal law or regulation duly enacted by the Chippewa Cree Tribe. "Loan" means
    the Plain Green cons11mer installment loan made by the tribal government lender to Borrower under this Agreement.

    IMPORTANT DISCLQ_~!JRE OF LHE TEftMliND CONDITIONS OF THIS LOAN

    THE BORROWER EXPRESSLY CONSENTS AND AGREE THAT THIS LOAN IS MADE WITHIN THE TRIBE'S JURISDICTION
    AND IS SUBJECT TO AND GOVERNED BY TRIBAL LAW AND NOT THE LAW OF THE BORROWER'S RESIDENT STATE.
    THE BORROWER IS STRONGLY CAUTIONED THAT IF THE BORROWER DOES NOT UNDERSTAND THIS CONSENT, OR
    DOES NOT WISH TO EXPRESSLY CONSENT TO TRIBAL JURISDICTION OR DOES NOT WISH TO HAVE THE LOAN
    GOVERENED BY LAWS OF THE TRIBE, THEN THE BORROWER SHOULD REFRAIN FROM ACCEPTING THIS LOAN OR
    RESCIND THE LOAN WITHIN THE TERMS OF THIS AGREEMENT. ACCEPTING THIS LOAN SHALL BE DEEMED EXPRESS
    CONSENT TO TRIBAL JURISDICTION AND EXPRESS CONSENT THAT THE LOAN SHALL BE GOVERNED BY THE LAWS
    OF THE TRIBE. THE BORROWER'S RESIDENT STATE'S LAW MAY HAVE INTEREST RATE LIMITS AND OTHER
    CONSUMER PROTECTION PROVISIONS THAT ARE MORE FAVORABLE TO THE BORROWER. IF THE BORROWER
    WISHES TO HAVE THE BORROWER'S RESIDENT STATE'S LAW APPLY TO ANY LOAN THAT THE BORROWER OBTAINS,



                                                        Ex. H
                                                        PG- Motion to Dismiss
                                                                                                                             000001
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 6 of 60 PageID# 315




   THE BORROWER SHOULD CONSIDER OBTAINING A LOAN FROM A LICENSED LENDER IN THE BORROWER'S STATE. IN
   ANY EVENT, THE BORROWER SHOULD CAREFULLY EVALUATE THE BORROWER'S FINANCIAL OPTIONS BEFORE
   OBTAINING ANY LOAN.

   PLAIN GREEN LOANS CARRY A HIGH INTEREST RATE AND ARE NOT INTENDED TO PROVIDE A SOLUTION FOR
   LONGER TERM CREDIT OR OTHER FINANCIAL NEEDS. ALTERNATIVE FORMS OF CREDIT MAY BE LESS EXPENSIVE
   AND MORE SUITABLE FOR A BORROWER'S FINANCIAL NEEDS.

   PLEASE CONSIDER YOUR ABILITY TO REPAY A LOAN. IF YOU ARE HAVING FINANCIAL DIFFICULTIES, YOU SHOULD
   SEEK THE ASSISTANCE OF FINANCIAL COUNSELORS. BEFORE SIGNING THIS AGREEMENT, PLEASE CAREFULLY
   READ ITS TERMS. YOUR SIGNATURE AND ACCEPTANCE OF THIS LOAN WILL BE DEEMED PROOF THAT YOU HAVE
   READ THIS AGREEMENT, YOU HAVE APPROVED OF ALL OF ITS TERMS, YOU HAVE EXPRESSLY CONSENTED TO
   TRIBAL JURISDICTION, YOU HAVE PROVIDED THE PLAIN GREEN WITH THE MOST CURRENT AND ACCURATE
   EMPLOYMENT, CREDIT. INCOME, AND ASSET HISTORY REQUIRED FOR PLAIN GREEN TO ASSESS YOUR ELIGIBILITY
   AND CREDITWORTHINESS, AND YOU AFFIRMATIVELY ACKNOWLEDGE THAT YOU ARE ABLE TO REPAY THIS LOAN
   ACCORDING TO THE TERMS OF THIS AGREEMENT.

   TRUTH IN LENDING DISCLOSURES: Plain Green provides tile following Truth-In-Lending disclosures so that you can compare
   tt1e cost of this Loan to other loan products you might obtain in the United States Plain Green's inclusion of these disclosures does
   not mean that Plain Green consents to the application of state or federal law to Plain Green. to the Loan. or this Agreement




                                                                                                                                    000002
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 7 of 60 PageID# 316




                                               TRUTH-IN-LENDING DISCLOSURES


                ANNUAL                       FINANCE CHARGE                      Amount Financed                       Total of Payments
          PERCENTAGE RATE                 The dollar amount the credit      The amount of credit ~rovidecl       Tile amount you Will have ~aid
        The cost of your credit as a             will cost you                to you or on yo"r llehall,          afteJ making all payments as
               yearly rate.                                                                                                scl1ectuled



                 277 .92%                          $3,051 ,06                         s 1.200.00                           $4 ,251.06

    PAYMENT SCHEDULE: Your Payment Schedule will be as set forth in the followmg table. with eac~1 clue dale being refer red to
    herein as a "Payment Due Date":


              Numbe[ of Pa)lments                        Amount of E'a)lmen1§                         WtJ~;:n    Pa)lments Are Due

                                                                                                              2/2/2016 312/2016,
                                                                                                              4/2!20 ~16   5/2/2016
                                                                                                              61212016.7/2/2016.
                         14                                      sn:JA't                                      8!2/2016, 9/212016,
                                                                                                             10i2i2016 1112/2016,
                                                                                                              12/2/20 16, l/2/2017.
                                                                                                               212120 '17. 3/2120'17
                         1                                       $283 .32                                           41212017

    PREPAYMENT: If you pay off early. you will not have to pay a penalty.
    See the Agreement below for arJY additioncll information about nonpayrner1t default any required repayment in full bel'o ~e the
    sc:hedul~ld date , and prepaynrent refunds and penalties.




                                                                                                                                        s·t ,200 OG
     Amount given to you directly

     Plus. Amount paid on your account with Lender-   Lo~n   #_ _ .
                                                                                                                                            so.oo

                                                                                                                                        $1,200.00
     Equals, Amount Financed




   PROMISE TO PAY: You promise to pay to the order of Plain Green 01 to any assignee of Plain Green or subsequent l1older of th is
   Agreement tt1e princrpal surn of $ '1.200.00 plus interest from the Effective Date of this Loan at the rate of 279.9915'/c, per year until
   this Loan is repaid in full. You agree to make payments i11 the amounts and on or before the Payment Due Dates shown in the
   Payment Schedule> above. You also promise to pay to Plcrrn Green or to a ny assignae of Plain Green or subsequent holrJer of tl1rs
   Agreement all other fees <md charges provided for under this Agreement.

   INTEREST: Interest will accrue daily on ttre unpaid principal balance of this Loa11. beoinning on the Effective Date. until paid m full
   Plain Green calculates interest based on a 365-day year. In calculating your payments. Plam Green ha s assu111ed you will rnake
   each payment on the day and in the arnount due. If any payment is recerved after tl1e Payment Due Date, you must pay any
   additional interest tl1at acc1 ues after the Payment Due Date , If any payment is made before a Payment Due Date, the interest due
   on the scheduled payment wrll be reduced. and you will owe less interest. The amount of any decrease or inc1ease in interest due
   will aftect the amount of your final payment.

   If the amount of any pay ment is not enough to pay the inte rest due the unpaid interest will be paid from your next payrnent(s). if
   any , and will not be added to !r1e prrncipal balarrce. If your payments crre less than the interest due. you will owe more money and it
   will become very difficult to pay off your Loan Time is of the essence . wh rch means ttwt there are no glace periods for when
   payments must be made. There are no separate late charges if you fail to make payments in accordance w ith tr;e Payment
   Schedule . However. if you do not make each payment in full on the Payment Due Dates as agreed. Plain Green may continue to
   charge interest on past due amounts at the interest mte set forth in the "Promise to Pay'' section. The inh;;rest rate an<i othe1
   charges under this Agreement will neve r exceed the highest rate or charge allowed by Tribal Law or this Agreement. If the amount
   collected is found to exceed the highest rate or cl1arge allowed. Plarn G1een will refund an amount necessary to comply wrth Tribal
   Law and this Agreement.

   PAYMENTS: Plarn Green wrll apply your payments rn t11e following order: ('!)to arJy fees due. (2) to accrued but unpaid rn\eresL
   and (3) to princ1pal amounts outstanding. If you choose to pay vra ACH Authorization. each sctlecluled payment plus any ft;es due
   to Plain Green (if applicable). will be debrted from your Bank Account on each Payment Due Datt~ See t~1e ACH Authorization below
   for further information If you choose to receive your Loan proceeds via check and to repay all amounts d ue pursuant to th rs




                                                                                                                                               000003
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 8 of 60 PageID# 317




    Agreement via check, money order or certified check please mail each payment payable to Plain Green . l.LC Payment Processing,
    PO Box ~2560 . Philadelphia, PA '191 01 (or by overnight mail or courier service \o Plain Green LLC c/o Meta Source, 1900 Frost
    r~oad , Suite 100, Bristol. PA 19007) in time for Plain Green to receive the payment tJy 5 00 p.m Eastertl Time on the Payment Due
    Date.

    PREPAYMENT: You may prepay thrs Loan rn whole or in part at any trrne Wlthoiit penalty If you pr<:pay "'part, you must strllmake
    each later payment accmdrnq to the Paymerrt Schedule above untillhrs Loan is paid rn full . Any amormts you prepay wrll not
    continue to accrue interest

    RIGHT OF RESCISSION: You may rescind or cancel this Loan if you do so en or before 5.30 p.rn .. Eastern Time. on the fifth
    busrness day after the Origination Date (the "Rescission Deadline"). ro canceL call Plain Green at (366) 420-7157 and request to
    rescind or cancel thrs Loan Then, provide Plain Green written notice of rescrssron as directed by ttre customer service
    representative.

    If you have pmvicied an ACH Authorization: If Plain Green timely receives your written notice of rescission on or llefore the
    Rescission Deadline but before the Loan proceeds have been credited lo your Bar1k Account. Plain Green will net deposrt your Loan
    proceeds to your Bank Account snd boH1 Plain Green's and your obligations under this Agreenre11i w;ll be rescinded. If Plain Green
    timely receives your written notice of rescission on or before the Rescission Deadlir1e but after the Loar1 proceeds h<rve been
    credited to your Bank Account Plain Green will debit your Bank Account for the principal amount owing under this Agreement. If
    Plain c;reen receives paymerrt of the principal amount vi8 the debit Plain Green's and your obligations under this Agreement will be
    rescinded. If Plain Green Joes not receive payment of the principal amount via the debit. then the Agreement will remain in full force
    and effect until all amounts owed under this Aoreement are repaid in full, incluclin(J any interest and fees

    if you have elected to receive your Loan proceeds vta cileck deiivered by mafi · If Plarn Green trr11ely •eceives your written notice of
    rescission on or before the Rescissron Deadline, and (a) if Plain Green has not mailed the check representinn the Loan proceeds to
    you or (b) if you have not cash eel the check r·epresentrng the Loan proceeds. then Plarn Green will cancel the check and IJoth Plarn
    Green's and your obligations under this Agreement wrll be rescinded If you hiJVe cast1ed the check representing the Loan proceeds
    you mlrst return the full amount of cash you recerved to Plain Green by the Rescrssior1 Deac\lirre. If Plain Green recerves the full
    amount by the Rescission Deadline. Plain Green's and your obligation> under thrs Agreement will be rescrnded If Plarn Green does
    not receive the full amount by the Rescission Deadline, then the Aqreernent willremai11 in flill force and effect until all amounts owed
    ur1cler t~Hs Agreement are repaid in full including any interest and fees.

    Any prco-assessed fee shall not be deernecl security for this Loan anci s11all be retumed by a credit e11try to your Bank Account within
    three (3) busrness clays of an effective mscrssion.

    CHECK CONVERSION NOTIFICATION: When you provide a c~1eck as paymer1t. you agree Plain Green may use information from
    your check to (a) make a one-time electronic withdrawal from your Bank Account or (b) process the payment as a check tmnsaciron .
    VVher1 Plain Green uses information from your check to make a withdrawal from your Bank Account, funds may be withdrawrl from
    your Bank Account as soon as the same day Plain Green receives your payment, and yCJu will not recerve your check back from
    your financial institution. For questions, please call Plarn Green's customer service phone nun1be1. (866) 420·7157.

    RETURNED PAYMENT FEES; BORROWER BANK CHARGES: If any payment made by you on this l.oan is not honored or
    cannot be processed for· any rea,;on , including not enough money in your Bank Account, you agree to pay Plain Gmen a fee of
    $30.00 and you aoree that Plain Green may recover court costs and reasonable attorrrey's fees incurred by Plairr Green. If you have
    elected to repay this Loan via ACH debits to your Bank Account. for each returned payment. you authorize Plain Green and its
    agents and representatives to rnake a ane·tirmJ withdrawal from your Bank Account to collect this fee . Ymw financ:al institution may
    also charge a fee rf your Bank Account becomes overdrawn or if a payment <S attempted against your Bank Account that would
    cause it to become overdrawn. You will not hold Plain Green or our agents. representatives, successors or assrgns respo11sible for
    any such fee you rnust pay.

    SECURITY: No security interest is taken or given in connection with this Loan .

    REFINANCE POLICY: Subject to Plarn Green credit policies, Plain Green will determine. in its sole discretion, whether your Loan
    may be refinanced .

    DEFAULT: "Default" of tt1is Agreement will occur if (a) you provide false or misleading information about yourself. your
    employmerlt or your financial condition prior to entering rnto this Agreement, (b) you fail to make a payment in iull by the applicable
    Payment Due Date or if your payment is returned te Plain Green for any reason, or (c) you file bar1kruptcy or become a debtor under
    U.S. federal bankruptcy laws.

    CONSEQUENCES OF DEFAULT: In the event of a Default, Plain Green rnay choose to do any one or more of the following things:
    (a) require you to immediately pay everything you owe under this Agreement: (b) if you have elected to repay this Loan via ACH
    debits to your Bank Account, continue to witt! draw regularly scheduled payments and fees fronr your Bank Account; and (c) pursue
    a Illegally available means to collect the balance clue . By signing this Agreement you waive notice of default dishonor, denrand for
    payment protest presentment, and any other notice Amounts you owe Plain Green rnay include the unpHid pr'incipal balance of
    this Loan all unpaid accrued fees and interest (including unpaid interest owing on past due amounts). and Jny costs and fees PliJin




                                                                                                                                      000004
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 9 of 60 PageID# 318




    Green incurs in connection with tl1is Agreement By choosing to exercise any one of more of these remedres, Plain Green does not
    waive its right to use another remedy later. Plain Green may decide not to use any of the remedies described above. In any event.
    Plain Green shall have and may exercise any and all rights and remedies avarlable to it through tribal law and or in equity Any
    claims or defenses whatsoever asserted by or on behalf of Borrower shall be subject to the drspute Jesolution process ancJ
    jurisdiction agreed to in this Agreemerrl.

    CREDIT REPORTING: You agree that Plain Green may make inquiries concerning your credit history and standing, and may report
    informatron concerning your performance under this Agreement to credit reporting agencies . Late paymer1ts. mrssed payments or
    other defaults on your Loan may be reflected in your credit report

    CHANGE OF PRIMARY RESIDENCE: You sgrue to notrfy Plarn Green of any change 111 your pnrnary resrdence as soon as
    practicable, but no later than fivo (5) days after any change. You agree that the address provided on this Agreement will govem this
    Agreement until you have met all obligations under this Agreement and that any subsequent change ln your pnrnary resirience will
    110t affect the terms or enforceabrlity of this Agreement.

    CORRESPONDENCE WITH LENDER: General corresponde11ce witll Plain Green concemirl~l th1s Loan. this Agreement or your
    relationship with Plain Green must be directed to Plain Green at the followir1g 01ddress Plain Green. LLC. 93 Mack Road, Suite EOO.
    PO Box 270. Box Elder, Montana 5952 "1, Communications related to the bankruptcy of the Borrower must be eiirected to Plain
    Green at the following address: Plain Green, LLC, Attn · EJankruptcy Handling 93 [\/lack Road, Sciite EJOO PO Box 270, Box Elder.
    Montana 59521.

    FORCE MAJEURE: Unavoidable delays as a result of rnadvertent processlllg errors and/or "acis of God" may extend the time for
    tire deposit of Loan proceeds and the processing of payments owing hereunder.

    TRANSFER OF RIGHTS; HYPOTHECATION AND MAINTENANCE OF REGISTER: This instrument is non-negotiable in form but
    may be pledged as collateral security. If so pledged. any payment made to the payee, either of prrncipal or of interest. upon the debt
    evidenced by tt1is obligation. shall be considered ancl construed as a payment on this instrument. the same as thougr1 it were still in
    the possession ar1d under the control of the payee r1amed heroin; and the pled(JGG tloldinq this rnstrumerrt as collateral security
    hereby makes said payee its agent to accept and r·eceive payments hereon. either of plincipal or of interest.

    You agree that Plain Green may assign or transfer· this Agreement. or any of our rights hereunder to any other person or entrty
    without prior notice lo or cor1sent frorn you. Regardless of any transfer. this Agreement shall remain exclusively subject to Tribal Law
    and remain within jurisdrction of the courts of the Tribe . Plain Green (in its capacity as '"Registrar"} actmg solely for this purpose as
    your rrrevocably appointed agent, shall mainlarn at an office located in the United States a copy of each assigr1rnent of this
    Agreement delivered to it and a register (the "Register'") for the recordation of the names and addresses of the original owner
    assrpnees. and persons holding participatior1 interests in the l_oan. and the amounts of principal and interest owing to each frorn
    tirne to time pursuant to the terms of this l.oan. The Register may be in electronic form The entries of tr1e Register shall be
    cor1clusive. and you, the Hegistrar, the Plarn Green a11d all of its assignees and pwticipants shall treat each person whose narne is
    recorded in the Register pursuant to these terms as the owner of such pri11cipal and interest paymer1ts for all pur poses of tt1is
    Agreement notwithstanding notice to t11e contrary. The name ofU1e owner in tl1e Reqister shall be available to you by written
    request to Plain Green, as Registrar. at any reasonable time and from time to time upon reasonable pnor notice. ·1he foregorng rs
    intended to result in tl1is Agreement being in "registered form" within the meaning of U.S. Treasury Renulations Section 1.871-14(c)
    and Sections 1G3(f), 871(h) and 881(c) of the Internal Revenue Code of 1986, as amended. and shall be interpreted ancl applied in
    a manner consistent thNewith. Any fees and expenses of Plain Green as Registrar for its services shall be charged to U1e i"egistered
    owner of the loan and not to you

    SUCCESSORS AND ASSIGNS: This Agreement is binding upon your hens and personal r·epresentatives in probate and upon
    anyone to whorn you assign your assets or who succeeds you in any other way; provided however tlmt you rnay not assrgn or
    transfer this Agreement except with Plain Green's prior wrrtten consent.

    SERVICING COMMUNICATIONS AND COMMUNICATIONS AFTER DEFAULT: You authorize Plarn Grep,n and its authorized
    representatives to contact you according to your conser1t provided in your application or according to your account preferences. as
    modified by you after submitting your application . This may include (i) calling you during reasonable hours at any of the phone
    mrrnbers listed on your most recent application (a) prior to each Payment Due Date to remind you of the payment clue and (b) ancl
    for other matters related to your account, (ii) contacting you by text messrJge or other wireless communication method on the mobile
    phone number listed on your application. (iii) leaving a message with 21 person or a vorce rnail service. ancl (iv) contacting you using
    auto-dialers or pm-recordecl messages. including calls to your mobile phone) .


                                                           ACH AUTHORIZATION
                             (applies only if (a) you select the electronic funclinglpayment option below or
                                               (b) authorize recurring Debit Card payments)

     This ACH Authoriza\ion is a pari of and relates to this Agreement. You voluntarily authorize Plain Green. and ou r successors,
     af111iates, agents . representatives, employees and assigns. to initiate automatic cr·edit and debit <mtrres to your Bank Account in
     accordance with this Agreement You agree that Plain Green will initiate a credit entry to yom Barrk Account for the Amount
     Finar1ced on or about the Disbursement Date. You agree that Pis in Green will inriiate a d\Jbit entry to your l\anl1 Account on each




                                                                                                                                        000005
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 10 of 60 PageID# 319




     Payment Due Date in the pay111ent amount described in the Payment Schedule For each schecluled payment wtJeneveJ a debit
     entry to your Bank Account is returned to Plain Green for any reason, Plain Green may initiate a debit enl!lJ to your Bank Account
     up to two additional times after the first attempt fo1 each scheduled payment amount You also agree thHt Plain Green will initiate
     a debit entry for any accruecl returned payment fees and any interest that accrues on overdue amounts. If your payment is due
     on a non-business day. it will be processed on t11e next busrness ciay.

     You agree that this ACH Autl10rization rs lor repayment of a consumer installment lo'm and that paymer1ts stwll recur at
     substantially regular intervals as set for"th in t11is Agreement lhis ACH Author rzation is to rernarn in lull force and offtJct for this
     transaction until you pay your L.oan including any interest and fees. in full. You rnay revoke thrs ACH Autllorrzatic>n by contactmg
     Plain Green directly or by contacting your frnancial rnstitution. If you revoke your ACH Authonzation, you agree to make payments
     to Plain green by check, certified check or money order as set forth in the "Payments" section above. In no event will any
     revocation of this ACH Authori~ation be effective with respect to entries processed by Plain Green prior to its receiving such
     revocatron

     You agree that Plain Gr·een may obtair1 information about you an<J your Bank Account from your hank andior consumer reportin~J
     agencies until all amounts owing pursuant to this Agreement are paid in full If there is any missing or Incorrect information in or
     with your application regarding your bank bank routino number or account number, then you autl1orize F'lam Creen to verity and
     correct such information.

     Your bank may charge you a fee in connection with Plain Green's credit and/or debit entries. Contact your financial rnstitution for
     more information specific to your Bank Account.

     This ACH Autl10rization is Slrbject to the following provisions

     (1) Rrght to stop payment end procedwe fordoing so If you have told Plain Green in advance to make regular payments out of
     your Bank Account. you can stop any ofth8se payments Here's how: Call Plain Green at (866) 420-7157 or send a written
     request to Plain Green, 93 Mack Road, Suite 600 PO Box 270. Box Elder, Montana 59~)21 In order for a cancellation request to
     be effective by a specifi<: date or for a specific payment, Pla in Green must recerve tl1e cancellation reqlJest three (3) business
     days or more before that date or before that payment is scheduled to be made. It you call. Plain Greenn1ay also require you to
     put your request in writing and submit to Plain Green within 14 days of your call.

     (2) Liability fof failure to stop payment otpreauthorized transfer. If you order Plair\ Green to stop a payment at least tl1me (3)
     business days or more before ttm debit is scheduled, an<J Plain Green fails to stop such payment. Plain Green will be liable for
     your losses or damages.

     (3) Notice of var_ymg amounts You will recerve a f\Otice at least 10 days before a payment 1S deiJited from your Bank Account if
     the payment Plain Green rs going to debit from your Bank Account varies from the amount disclosed in the Schedule of
     Payments above. You have the right to receive notice of all varying amounts .

     This ACH Aut~10rization is a paymer1t mech;;mism only and does not give Plain Green collection rights greater than tt10se
     otherwise contained in thi s Agreement. This ACH Authorization does not constitute and is not intended to constitute a security
     interest under Tribal Law.

     If you associate one or more debit cards with your account with Plain Green (each a "Debit Carel") and authoriz:e Plain Green to
     initiate recurring payments on your Loan using a Debit Card, the terms of the foregoing ACH Authorization will apply equally to
     recurring payments made by Debit Card.


    ENTIRE AGREEMENT; SEVERABILITY. This Agreement , including t~e Waiver of Jury Trial and Arbitration Agreement, constitutes
    the entire agreement between Borrower and Plain Green, and it may not be contradicted by evidence of prior or contemporaneous
    oral agreements between them . If any provision of this Agmernent is held unenforceable, including any pr ovisron of H1e Waiver of
    Jury Trial and Arbitration Agreement. the remainder of this Agreement shall remarn in full force and effect

    GOVERNING LAW; NON-APPLICABILITY OF STATE LAW; INTERSTATE COMMERCE: This Agreement and the Agreement to
    Arbitrate are governed by Tribal Law. fhe Agreement to Arbitrate also comprehends the application of the Federal Arb illation Act,
    as provided below. Plain Green does not have a presence irr Montana or any other state oi the United Stat~1s of Amenca. Neither
    this Agreement nor tt1e Plain Green rs sub;ect to th'l laws of i'J11Y state of the Unrted States. Plam Green rnay ctwose to volw1tarily
    use ceriain federal laws as guidelines for tire provision of services Such voluntary use does not represerrt acquiescence of tho
    Chippewa Cree Tnbe to any feclerallaw unless found expressly applicabltl to \he opNalrons of the Chrppewa Cree lribe You and
    Plain Green agree that the tl'arlsaction represented by this Agreement involves 111terslate commerce fcrr all purposes


                                        WAIVER OF JURY TRIAL AND A.RBJ.IRATION AGREEMENT
     This Agreement includes the following binding Waiver of Jury Trial and Arbitration Agreement (the "'Agreement to
     Arbitrate"). You may opt out of the Agreement to Arbitrate by following these instructions:

     RIGHT TO OPT-OUT, IF YOU DO NOT AGf\EE TO ARBITRATE: ALL DISPUTES (DEFINED BELOW) IN ACCORDANCE




                                                                                                                                         000006
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 11 of 60 PageID# 320




     WITH THE TERMS AND CONDITIONS OF THE AGREEMENT TO ARBITRATE. YOU MUST ADVISE PLAIN GREEN IN
     WRITING EITHER BY (A) MAIL DELIVERY OF A LETTER POSTMARKED NO LATER THAN 60 DAYS FOL'-OWING THE
     ORIGINATION DATE SET FORTH AT THE TOP OF THIS AGREEMENT, TO 93 MACK ROAD, PO BOX 270, 130X ELDER.
     MONTANA 59521, OR (B) EMAIL DATED NO LAI ER THAN GO DAYS FOLLOWING fi1E ORIGINA'IION DATE SET FORTH AT
     THE TOP OF THIS AGREEMENT TO SUPPORT«UPLAINGREE~LOANS.COM YOUR OPT-OU'I CORRESPONDENCE
     MUST CLEARLY PRINT OR TYPE YOUR NAME AND ACCOUNT NUMBER OR SOCIAL SECURITY NUMBER AND STATE
     THAT YOU REJECT ARBITRATION. YOUR REJECTION OF ARBITRATION WILL NOT BE EFFECTIVE IF IT IS NOT IN
     WRITING OR IF IT IS DATED LATER THAN 60 DAYS FOLLOWING THE ORIGINATION DATE SET FORTH AT THE TOP OF
     THIS AGREEMENT: IT IS NOT SUFFICIENT TO TELEPHONE PLAIN GREEN. IN THE EVENT YOU OPT OUT OF THE
     AGREEMENT TO ARBil RATE. ANY DISPUTES SHALL BE GOVERNED UNDER TRIBAL LAW AND MUST BE BROUGHT IN
     THE CHIPPEWA CREE TRIBAL COURT.

     PLEASE CAREFULLY READ THIS AGREEMENT TO ARBITRATE. UNLESS YOU EXERCISE YOUR RIGHT TO OPT-OUT
     OF ARBITRATION AS DESCRIBED ABOVE, YOU AGREE THAT ANY DISPUTE YOU HAVE RELATED TO THIS
     AGREEMENT WILL BE RESOLVED THROUGH BINDING ARBITRATION. ARBITRATION REPLACES LITIGATION. BY
     AGREEING TO ARBITRATE ANY DISPUTES, YOU WAIVE YOUR RIGHT TO GO TO COURT, YOUR RIGI-IT TO HAVE A
     JUDGE OR JURY, YOUR RIGHT TO ENGAGE IN DISCOVERY (EXCEPT AS MAY BE PROVIDED IN THE ARBJTRA TION
     RULES), AND YOUR RIGHT TO PARTICIPATE AS A REPRESENTATIVE OR MEMBER OF ANY CLASS OF CLAIMANTS
     OR IN ANY CONSOLIDATED ARBITRA TfON PROCEEDING OR AS A PRIVATE ATTORNEY GENERAL. OTHER RIGHTS
     THAT YOU WOULD HAVE IF YOU WENT TO COURT MAY ALSO BE UNAVAILABLE IN ARBITRA TJON.

     AGREEMENT TO ARBITRATE: You and Plain Green agree that any Dispute (defined below) will be resolved by Arbitration.

     WHAT ARBITRATION IS: "Arbitration" is a form of alternative dispute resolution where Disputes are presented to an
     independent third party for resolution. A "Dispute" is any claim or controversy of any kind between you and Plain Green or
     otherwise involving this Agreement or the Loan. ·1 he term Dispute is to be given its broadest possible meaning and includes.
     witholr\ limitation, all federal. state or Tribal Law claims or dema nds (whether past, present, or futu re) . ba sed on a11y legal or
     equitable theory and regardless of the type of relief sought (r.e .. money, inJunctive relief. 01 declaratory relief) . A Dispute includes
     any issue concerning the validity. enforceability. or scope of this Agreement or this Agreement to Arbitrate.

     For purposes of !his Agreement to Arbitrate. (a) the terms "you" and "your" mclucJe any co-signer a11d also your heirs . guardian,
     personal representative , or trustee in bankruptcy, a11d (b) the term "Plain Green" mea11s Plain Green, LLC as the Lender. Plain
     Green's affiliated companies, tile Tribe. Plain Green's servicing and collection representatives and agents. and each of their
     respective agents. representatives, employees, officers. directors. members. managers, attorneys. successors, predecessors.
     and assigns.


     HOW ARBITRATION WORKS: If a Dispute arises, the party asserting the claim or dernand must initiate arbitration . provrded you
     or Plain Green may first try to resolve the matter informally or through customary business methods, includrng collection activity.
     The party requesting arbitration must choose eitl1er of the following arbitratron firms for initiat111q ancJ pu rsuing arbitration: the
     American Arbitration Association ("AAA'') or· JAMS. The Resolution Experts ("JAMS"). If you claim you have a Dispute Wi\h Plain
     Green. but do not initiate arbitration or select an arbitration firm, Plain Green may do so. You rnay otJtain copies of the current
     rules of each of the arbit1ation firms and fo1 ms and instructions for initiatrng arbitration by contacting them as follows:


                       JAMS. Tile Resolution Experts                                     American Arbitral ion Association
                       1920 Main Street. Ste 300                                         335 Madison Ave . Floor 10
                       Irvine, CA 92614                                                  New York, NY 10017-4G05
                       Website: htt:p://www.jamsadr.com/                                 \/Vebsrte: htill://wwvv.adi~UIDL
                       Telept10ne (949) 224-1810 or (BOO) 352-5267                       Telephone 1800) 778-78 19


     The policies and procedures of the selectee! arbitration frrm applicable to consumer transactions w ill apply provided such policies
     and procedures do not contradict this Agreement to Arbitrate or Tribal Law To the extent the arbitration firm's rules or procedures
     are different than the terms of this Agreement to Arbitrate. the terms of this Agreement to Arbitrate will apply

     WHAT ARBITRATION COSTS: No matter which party initiates the arbitration. Plain Green will sdvance or reimburse filing fees
     and other costs or fees of arbitration, provided each party will be initially responsible for its own attorneys' fees and related costs.
     Unless prohibited by Tribal l.aw, the arbitrator may award fees, costs. and reasonable attorneys' fees to the party who
     substantially prevails in tt1e arbitration.

     LOCATION OF ARBITRATION: Any arbitration under this Agreement rnay be conducted either on Tribal land m within thirty
     (30) miles of your then current residence, at your choice. provided that this accommodatio11 for you shall not t1e construed in any
     way (a) as a relinquishment or waiver of the sovereign status or immunity of the Tribe, or (b) to allow for the application of any
     law other than Tribal Law.


     WAIVER OF RIGHTS: BY ENTERING INTO THIS AGREEMENT, YOU ACKNOWLEDGE AND AGREE THAT YOU ARE
     WAIVING YOUR RIGHT TO (A) HAVE A JURY TRIAL TO RESOLVE DISPUTES, (B) HAVE A COURT RESOLVE DISPUTES,
     (C) PARTICIPATE IN A CLASS ACTION LAWSUIT, AND (D) HAVE ACCESS TO DISCOVERY AND OTHER PROCEDURES




                                                                                                                                            000007
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 12 of 60 PageID# 321




     THAT ARE AVAILABLE IN A LAWSUIT.

     The arbitrator has the ability to award all1emedies available undei Tribal Law. whether at law or in equity to tt1e prevailing party,
     except that you and Plain Green agree that the arbitrator has no authority to conduct class-wide proceedings and will be
     restricted to tesolving individual Disputes. The validity. effect. and enforceability of tl1e waivers of class action lawsuit and class-
     wide atbitration , if challenged, are to be determined solely by a Tribal court of competent jurisdictton and not by the AAA, JAMS,
     or an arbitrator. If the Tribal court refuses to enforce ti1e class-wide arbitration watver. the parties agree that the Dispute will
     proceed in Tribal court and will be decided by a Tribal court judge, sitting without a jury , under applicable Tnbal court rules and
     procedures, and not as a class actton lawsuit. As an integral component of accepting this Agreement, you irrevocably consent to
     the exclusive jurisdictio11 of the Tribal courts for purposes of this Agreement.

     APPLICABLE LAW AND JUDICIAL REVIEW OF ARBITRATOR'S AWARD: THIS AGREEMENT TO ARBITRATE IS MADE
     PURSUANT TO A TRANSACTION INVOLVING INTERSTATE COMMERCE AND SHALL BE GOVERNED BY TRIBAL LAW.
     THE PARTIES ADDITIONALLY AGREE TO LOOK TO THE FEDERAL ARBITRATION ACT AND JUDICIAL
     INTERPRETATIONS THEREOF FOR GUIDANCE IN ANY ARBITRATION THAT MAY BE CONDUCTED HEREUNDER. The
     at tJitrato1 shall apply Tribal Law and the terms of this Agreement. including this Agteernent to Arbitrate and the watvers included
     herein. The a1bitrat01 may decide , with or without a hearing any motion that is substantially similar to a motion to dismiss for
     failure to state a claim or a motion fo1 summary JUdgment. The arbitrator shall make written findings and the arbitrator's award
     rnay be filed with a Tribal court. Tl1e arbitration award shall be supported by substantial evtdenc;e and rnust be co11sistent with this
     Agreement and Tribal Law. and if it is not it may be set aside by a Tribal court upon judicial review. The parties will have the rig~1t
     to judicial review in a Tribal court of (a) wheiher the findings of fact rendered by the arbitrator are supported by substantial
     evidence and (b) whether the conclusions of law are erroneous under Tribal Law. Judgment confn ming an award in such a
     proceeding may be entered only it a Triba l court determtnes that tile award is supported by substantial eviclence and is not based
     on legal error under Tribal Law.

     SURVIVAL: This Agreement to Arbitrate will survive: (1 J the cancellat ton . payment . charge-off. or ass1gnrnent of tl1is Agreement;
     (2) the bankruptcy of any party ; and (3) any transfer. sale. or assignment of this Agreement or any amounts owed uncler this
     Agreement. to any other person or entity .



    PLEASE CAREFULLY REVIEW THIS AGREEMENT, WHICH INCLUDES A WAIVER OF JURY TRIAL AND ARBITRATION
    AGREEMENT THAT MAY BE ENFORCED BY YOU AND PLAIN GREEN. IF YOU HAVE QUESTIONS, PLEASE CONTACT
    CUSTOMER SERVICE AT (866) 420-7157.

    By electronically signing this Agreement: You certify that all inf01 rnation you gave Plain Green in r:onnect!On with your
    application and thiS Agteement is true and correct, and you autl1oriz:e Plain Green to verify any information you provided. You give
    Platn Green consent to obtain information Eibout you from one or more consumer reportmg agencies and other sources You
    acknowledge tllat: (a) you have read, understand, and agree to all of the terms and conditions of (i) this Agreement,
    including the truth-in-lending disclosures and the Waiver of Jury Trial and Arbitration Agreement, and (ii) Plain Green's
    Privacy Policv; (b) this Agreement contains all of the terms of tile agreemellt between you and Plain Green and that no
    representations or promises other than those contained in this Agreement have been made; (c) if you elect below to repay
    this Loan via ACH debits to your Bank Account, you specifically authorize withdrawals and deposits to and from your
    Bank Account as described in this Agreement; {d) you are not a debtor under any procr;,eding in biinkruptcy and have no
    intenfion to file a petition for relief under any chapter of the United States Bankruptcy Code; (e) this Agreement was filled
    in before you signed it; (f) you have the ability to print or retain a completed copy of this Agreemr;,nt; and (g) Plain Green
    has not made the Loan contingent upon your obtaining any other product or service from Plain Green or anyone else. You
    further acknowledge that Plain Green may withhold funding of your Loan until (i) Plain Green confirms that you have made all
    payments on any previous loans with Plain Green. (ii) Plain Green verifies that all information you gave Plain Green on your
    application is true and (iii) Plain Green decides whether you ml'!et the requirements io 1eceive th('l l.oa11


    Check Here
    F By checking here and signing below, you understand, acknowledge and agree that Plain Green, LLC is a tribal lending
    entity wholly owned by Chippewa Cree Tribe of the Rocky Boy's Indian Reservation, Montana, a federally recognized tribe.
    You further 1mderstand, acknowledge and agree that this Loan is governed by the laws of the Chippewa Cree Tribe and is
    not subject to the provisions or protections of the laws of your home state or any other state. If you wish to have your
    resident state's law apply to any loan that you obtain. you should consider obtaining a loan from a licensed lender in your
    state.


    Please review and select one of these funding options:

    Check Here

     I< ELECTRONIC (as soon as the next business clay): By checking here and signing below you agree to the ACH .Authorization set forth in
    this Ag1 eement, which allows Plain Green to debit and credit your Bank Account fot this Loa' 1. You acknowledge and agree that the ACH
    Authorization is for tim benefit of Plai n Grc;en, LLC. its affiliates, agents representatives, employees. successors. and registered assigns . You
    acknowledge that you are not required to consent to receive funds or repay your Loan by ACHor othe1 electroruc payment methoct.




                                                                                                                                                 000008
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 13 of 60 PageID# 322




     I POSTAL MAIL (allow 7 to 10 days for delivery): By checking here and signing below, you request Loan proceeds be distributed to you
    by check and delivered by regular mail through the U.S. Postal Service. If you elect to receive your proceeds by mail, you must make
    payments as explained in the "Payments" section above. You acknowledge that interest begins accruing on the Effective Date set forth at the
    top of this Agreement.

    Your Full Nam&:                          Type 'I Agree':               Date:
    Darlene Jones Gibbs                      I Agree                       116/2016



     Plain Green, LLC
                    ")

       ...---;:..,..--·-. ..-'.<-~-------
     ,/,...              .
                                                        Date:
                                                        1/6/2016

    By: Joel Rosette, CEO




                                                                                                                                          000009
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 14 of 60 PageID# 323




                        EXHIBIT I
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 15 of 60 PageID# 324




                         THIS AGREEMENT SHALL NOT CONSTITUTE A "NEGOTIABLE INSTRUMENT"

                                               Consumer Installment Loan Agreement

                                                        Loan Number: 68693094

                                                          Plain Green, LLC
                                                       93 Mack Road, Suite 600
                                                            P. O. Box 270
                                                      Box Elder, Montana 59521
                                                           (866) 420-7157




Lender:                                                             Borrower's Name:

Plain Green, LLC                                                    Lawrence Mwethuku

Origination Date: 8/22/2013                                         Borrower's ID:

This is the date you signed and submitted this Agreement to
the Lender.

                                                                    Borrower's Address:
Disbursement Date: On or about 8/22/2013

This is the date that the Loan proceeds are released.


                                                                    Borrower's Bank and Account Number for ACH
Effective Date: 8/23/2013
                                                                    Transfers (the "Bank Account"):
This is the date that interest begins to accrue.


Final Payment Due Date: 2/3/2015

This is the Loan maturity date.


This Consumer Installment Loan Agreement (this "Agreement") is subject solely to the exclusive laws and jurisdiction of
the Chippewa Cree Tribe of the Rocky Boy's Indian Reservation, Montana (the "Chippewa Cree Tribe"), a federally
recognized Indian Tribe. In this Loan Agreement, "you" and "your" refer to the Borrower identified above. "We", "us", "our", and
"Lender" refer to Plain Green, LLC, a lender authorized by the laws of the Chippewa Cree Tribe. "Loan" means the consumer
installment loan made by Lender to Borrower under this Agreement. By executing this Agreement and accepting the Loan from
Lender, you hereby acknowledge and consent to be bound to the terms of this Agreement, consent to the sole subject matter and
personal jurisdiction of the Chippewa Cree Tribal Court, and further agree that no other state or federal law or regulation shall apply
to this Agreement, its enforcement or interpretation.

TRUTH IN LENDING DISCLOSURES: The truth-in-lending disclosures set forth below are provided to you so that you may
compare the cost of this Loan to other loan products you might obtain in the United States. Our inclusion of these disclosures does
not mean that we or any subsequent holder of this Agreement consent to application of state or federal law to us, to the Loan, or this
Agreement.




                                             Ex. I
                                             PG - Motion to Dismiss

                                                                                                                             000001
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 16 of 60 PageID# 325



                                              TRUTH-IN-LENDING DISCLOSURES



            ANNUAL                     FINANCE CHARGE                  Amount Financed                Total of Payments
      PERCENTAGE RATE                 The dollar amount the           The amount of credit         The amount you will have
   The cost of your credit as a        credit will cost you.       provided to you or on your        paid after making all
          yearly rate.                                                       behalf.                payments as scheduled.

            179.52%                        $3,257.54                       $1,800.00                       $5,057.54


 PAYMENT SCHEDULE: Your Payment Schedule will be as set forth in the following table, with each due date being referred to
 herein as a "Payment Due Date":

         Number of Payments                      Amount of Payments                       When Payments Are Due

                                                                                              9/3/2013, 9/17/2013,
                                                                                            10/1/2013, 10/15/2013,
                                                                                           10/29/2013, 11/12/2013,
                                                                                           11/26/2013, 12/10/2013,
                                                                                             12/24/2013, 1/7/2014,
                                                                                              1/21/2014, 2/4/2014,
                                                                                              2/18/2014, 3/4/2014,
                                                                                              3/18/2014, 4/1/2014,
                                                                                             4/15/2014, 4/29/2014,
                    37                                   $133.09                             5/13/2014, 5/27/2014,
                                                                                             6/10/2014, 6/24/2014,
                                                                                              7/8/2014, 7/22/2014,
                                                                                              8/5/2014, 8/19/2014,
                                                                                              9/2/2014, 9/16/2014,
                                                                                            9/30/2014, 10/14/2014,
                                                                                           10/28/2014, 11/11/2014,
                                                                                            11/25/2014, 12/9/2014,
                                                                                             12/23/2014, 1/6/2015,
                                                                                                   1/20/2015
                     1                                   $133.21                                    2/3/2015

 PREPAYMENT: If you pay off early, you will not have to pay a penalty.

 See the Agreement below for any additional information about nonpayment, default, any required repayment in full before the
 scheduled date, and prepayment refunds and penalties.




 Itemization of Amount Financed

                                                                                                                       $1,800.00
 Amount given to you directly:

                                                                                                                           $0.00
 Plus, Amount paid on your account with Lender - Loan #_____:

                                                                                                                       $1,800.00
 Equals, Amount Financed:




WARNING: THIS LOAN IS NOT INTENDED TO MEET YOUR LONG-TERM FINANCIAL NEEDS. THIS LOAN SHOULD BE
USED ONLY TO MEET SHORT-TERM CASH NEEDS. RENEWING THE LOAN RATHER THAN PAYING THE DEBT IN FULL
WILL REQUIRE THE PAYMENT OF ADDITIONAL FINANCE CHARGES.

PROMISE TO PAY: You promise to pay to the order of Lender or to any assignee of Lender or subsequent holder of this
Agreement the principal sum of $1,800.00 plus interest from the Effective Date of this Loan at the rate of 180.0180% per year until
this Loan is repaid in full. You agree to make scheduled payments under this Loan in the payment amounts and on or before each of
the Payment Due Dates listed in the Payment Schedule above. You also promise to pay to Lender or to any assignee of Lender or
subsequent holder of this Agreement all other fees and charges provided for under this Agreement.




                                                                                                                        000002
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 17 of 60 PageID# 326



INTEREST: Interest will accrue on a daily basis on the unpaid principal balance of this Loan until paid in full. Interest will accrue
based upon the number of days elapsed over a year having 365 days. In the event of acceleration of maturity, calculations for each
elapsed day are based upon a daily factor of 1/365 of a year. Interest shall continue to accrue on past due amounts.

WHEN INTEREST BEGINS TO ACCRUE: Interest begins to accrue on the Loan on the Effective Date. You will be charged
interest on the unpaid principal balance of the Loan each day from the Effective Date until the Loan is paid in full. In calculating your
payments, we have assumed you will make each payment on the day and in the amount due. If any payment is received after the
Payment Due Date, you must pay any additional interest that accrues after such date. If any payment is made before a Payment
Due Date, the interest due for such installment will be reduced. The amount of this decrease or increase in interest due will be
reflected in the final payment that is due. If the amount of any payment is insufficient to pay the accumulated interest, the unpaid
interest continues to accumulate to be paid from the proceeds of subsequent payments, if any, and will not be added to the principal
balance. Time is of the essence, which means that there are no grace periods for when payments must be made.

PAYMENTS: Lender will apply your payments in the following order: (1) to any fees due, (2) to earned but unpaid interest, and (3)
to principal amounts outstanding. If you have chosen the ACH Authorization option, each scheduled payment plus any fees due to
us (if applicable) will be debited from your Bank Account on each Payment Due Date as set forth above. Additional provisions
related to this authorization (including provisions related to how such authorization may be terminated) are set forth in the ACH
Authorization terms set forth below. If you have chosen to receive your Loan proceeds via check and to repay all amounts due
pursuant to this Agreement via money order or certified check, please mail your payments payable to Plain Green, LLC, Payment
Processing, P.O. Box 204271, Dallas, Texas 75320-4271 (or by overnight mail or courier service to Lockbox Services: 204271,
Plain Green, 2975 Regent Boulevard, Irving, Texas 75063), by the Payment Due Dates set forth in the Payment Schedule above. All
mailed payments must reach this address by 5:00 p.m. Eastern Time on the Payment Due Date. In addition, you agree that we
cannot make and have not made the Loan contingent upon your obtaining any other product or service from us or anyone else.

PREPAYMENT: You may prepay any amount owed under this Agreement in whole or in part at any time without penalty. If you
prepay in part, you must still make each later payment in the original amount as it becomes due until this Loan is paid in full.
Prepayments will be applied as specified above, and interest will not continue to accrue on any prepaid principal amount following
the date of such payment.

RIGHT OF RESCISSION: You may rescind or cancel this Loan, without cost or further obligation to Lender, if you do so on or
before 5:30 p.m., Eastern Time, on the fifth business day after the Origination Date (the "Rescission Deadline"). To cancel, call
Lender at (866) 420-7157 to tell us you wish to rescind this Loan and provide us written notice of rescission as directed by our
customer service representative. If you have provided an ACH Authorization: In the event that we timely receive your written notice
of rescission on or before the Rescission Deadline but before the Loan proceeds have been credited to your Bank Account, we will
not effect a credit entry to your Bank Account and both ours and your obligations under this Agreement will be rescinded. In the
event that we timely receive your written notice of rescission on or before the Rescission Deadline but after the Loan proceeds have
been credited to your Bank Account because you have provided an ACH Authorization, we will effect a debit to your Bank Account
for the principal amount owing under this Agreement. If we receive payment of the principal amount via the debit, ours and your
obligations under this Agreement will be rescinded. If we do not receive payment of the principal amount via the debit, then the
Agreement will remain in full force and effect until all sums due and owing under this Agreement are repaid in full inclusive of
interest and fees, if any. If you have elected to receive your Loan proceeds via check delivered by mail: In the event that we timely
receive your written notice of rescission on or before the Rescission Deadline, and (a) if we have not mailed the check representing
the Loan proceeds to you or (b) if you have not cashed the check representing the Loan proceeds, then we will cancel the check
and both ours and your obligations under this Agreement will be rescinded. If you have cashed the check representing the Loan
proceeds, you must return the full amount of cash you received to us by the Rescission Deadline. If we do not receive the full
amount by the Rescission Deadline, then the Agreement will remain in full force and effect until all sums due and owing under this
Agreement are repaid in full, inclusive of interest and fees, if any.

EFFECT OF PAYMENTS ON PREVIOUS LOANS: If you have made a payment on your previous loan with Lender, and the
payment is returned unpaid for any reason by your bank on or prior to the Disbursement Date noted above, then Lender reserves
the right to cancel this Agreement. If we cancel this Agreement, we will provide notice to you at the email address you provided to
us.

REMOTELY CREATED CHECK AUTHORIZATION: This Remotely Created Check Authorization applies only to Borrowers who
have granted an ACH Authorization to Lender in connection with this Loan. If we are unable to process an ACH debit to your Bank
Account or we do not receive a payment by the Payment Due Date, and provided that you have not revoked your ACH
Authorization, you authorize us and our agents, representatives, successors and assigns to create and submit remotely-created
checks for payment to us in the amount of each payment owing under this Agreement, including any returned payment charges or
other amounts owing to us upon acceleration of this Loan as a result of your Default. Your typed signature below shall constitute
your authorization to us to authenticate remotely created checks, which are also known as demand drafts, telechecks, preauthorized
drafts, or paper drafts. If you believe we charged your Bank Account in a manner not contemplated by this authorization, then
please contact us. You authorize us to vary the amount of any preauthorized payment by remotely created check as needed to




                                                                                                                              000003
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 18 of 60 PageID# 327



repay installments and any other payments due under this Agreement.

CHECK CONVERSION NOTIFICATION: When you provide a check as payment, you agree we can either use information from
your check to make a one-time electronic withdrawal from your Bank Account or to process the payment as a check transaction.
 When we use information from your check to make a withdrawal from your Bank Account, funds may be withdrawn from your Bank
Account as soon as the same day we receive your payment and you will not receive your check back from your financial institution.
 For questions, please call our customer service phone number, (866) 420-7157.

IMPORTANT INFORMATION ABOUT PROCEDURES FOR OPENING A NEW ACCOUNT: Lender obtains, verifies and
records information that identifies each person who opens an account with Lender. This means that when you open an account with
Lender, Lender will ask for your name, address, date of birth, and other information that will allow us to identify you. We may also
ask to see your driver's license or other identifying documents.

VERIFICATION: You authorize us to verify the information you provided to us in connection with your credit application. You give
us consent to obtain information about you from one or more consumer reporting agencies and other sources. We reserve the right
to withhold funding of this Loan, at any time prior to disbursement, to allow us to verify the information you have provided to us.

LATE CHARGE: There is no separate late charge if you fail to make payments in accordance with the Payment Schedule.
However, if you do not make each payment in full on the Payment Due Dates as agreed, Lender may continue to charge interest on
past due amounts at the interest rate set forth in the "Promise to Pay" section above.

RETURNED PAYMENT FEES; BORROWER BANK CHARGES: If any payment made by you on this Loan is not honored or
cannot be processed for any reason, including not enough money in your Bank Account, you agree to pay us a fee of $30.00. For
each returned payment, you authorize Lender and its agents and representatives to make a one-time withdrawal from your Bank
Account to collect this fee, if you have elected to repay this Loan via ACH debits to your Bank Account. Your financial institution may
also impose a fee if your Bank Account becomes overdrawn. You will not hold us or our agents, representatives, successors or
assigns responsible for any fees you must pay as a result of any check or withdrawal request being presented at your bank in
connection with this Agreement.

SECURITY: No security interest is taken or given in connection with this Loan .

REFINANCE POLICY: Subject to our credit policies, we will determine, in our sole discretion, whether your Loan may be
refinanced.

DEFAULT: You will have broken your promise you made to us in this Agreement (each, a "Default") if: (a) you provide false or
misleading information about yourself, your employment or your financial condition prior to entering into this Agreement, (b) if you
fail to make a payment by the due date or if your payment is returned to us for any reason, or (c) if you file bankruptcy or become a
debtor under the Federal Bankruptcy Laws.

CONSEQUENCES OF DEFAULT: Should you not do the things you agreed to under this Agreement, we may, at our option, do any
one or more of the following things: (a) require you to immediately pay us everything you owe us under this Agreement; (b) withdraw
money from your Bank Account that was not available when we tried to withdraw it at an earlier time, if you have elected to repay
this Loan via ACH debits to your Bank Account; and (c) pursue all legally available to collect what you owe us. By signing this
Agreement you waive notice of default, dishonor, demand for payment, protest, presentment, and any other notices. Amounts you
owe Lender includes the unpaid principal balance of this Loan, all unpaid accrued fees and interest (including unpaid interest owing
on past due amounts), and any costs and fees Lender incurs in connection with this Agreement. In the event we declare all amounts
owed under this Agreement immediately due because you did not pay us, then, if you have elected to repay this Loan via ACH
debits to your Bank Account, you further authorize us and our agents and representatives to withdraw money from your Bank
Account in the full amount due under this Agreement. By choosing to exercise any one of more of these remedies, we do not give
up our right to use another way to collect the money you owe us later. We may decide not to use any of the ways described above
to get back the money that you owe us. If so, we do not give up our right to consider what you said you would do to make
payment(s) and, if you fail to make those payment(s), we will consider you to be in Default.

CREDIT REPORTING: You agree that Lender may make inquiries concerning your credit history and standing, and may report
information concerning your performance under this Agreement to credit reporting agencies. Late payments, missed payments or
other defaults on your Loan may be reflected in your credit report.

CHANGE OF PRIMARY RESIDENCE: You agree to notify Lender of any change in your primary residence as soon as
practicable, but no later than five (5) days after any change. You agree that the address provided on this Agreement will govern this
Agreement until you have met all obligations under this Agreement and that any subsequent change in your primary residence will
not affect the terms or enforceability of this Agreement.




                                                                                                                            000004
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 19 of 60 PageID# 328



CORRESPONDENCE WITH LENDER: General correspondence with Lender concerning this Loan, this Agreement or your
relationship with Lender must be directed to Lender at the following address: Plain Green, LLC, 93 Mack Road, Suite 600, P.O. Box
270, Box Elder, Montana 59521. Communications related to the bankruptcy of the Borrower must be directed to Lender at the
following address: Plain Green, LLC, Attn: Bankruptcy Handling, 93 Mack Road, Suite 600, P.O. Box 270, Box Elder, Montana
59521.

FORCE MAJEURE: Unavoidable delays as a result of inadvertent processing errors and/or "acts of God" may extend the time for
the deposit of Loan proceeds and the processing of payments owing hereunder.

TRANSFER OF RIGHTS; HYPOTHECATION AND MAINTENANCE OF REGISTER: This instrument is non-negotiable in form
but may be pledged as collateral security. If so pledged, any payment made to the payee, either of principal or of interest, upon the
debt evidenced by this obligation, shall be considered and construed as a payment on this instrument, the same as though it were
still in the possession and under the control of the payee named herein; and the pledgee holding this instrument as collateral
security hereby makes said payee its agent to accept and receive payments hereon, either of principal or of interest. We may assign
or transfer this Agreement, or any of our rights hereunder, to another person or entity without notice or consent from you.
Regardless of any transfer, this Agreement shall remain exclusively subject to the laws and courts of the Chippewa Cree Tribe.
Plain Green, LLC (the "Registrar"), acting solely for this purpose as your irrevocably appointed agent, shall maintain at an office
located in the United States a copy of each assignment of this Agreement delivered to it and a register (the "Register") for the
recordation of the names and addresses of the original owner and assignees, and the amounts of principal and interest owing to
each from time to time pursuant to the terms of this Loan. The Register may be in electronic form. The entries of the Register shall
be conclusive, and you, the Registrar, the Lender and all of its assignees shall treat each person whose name is recorded in the
Register pursuant to these terms as the owner of such principal and interest payments for all purposes of this Agreement,
notwithstanding notice to the contrary. The name of the owner in the Register shall be available to you by written request to the
Registrar at any reasonable time and from time to time upon reasonable prior notice. In addition to the foregoing, the Registrar shall
include on the Register the names and addresses of those persons holding participation interests in the Loan of which it has notice.
Any fees and expenses of the Registrar for its services shall be charged to the registered owner of the loan and not to you.

SUCCESSORS AND ASSIGNS: This Agreement is binding upon your heirs and personal representatives in probate and upon
anyone to whom you assign your assets or who succeeds you in any other way.

SERVICING COMMUNICATIONS AND COMMUNICATIONS AFTER DEFAULT: You authorize Lender and its authorized
representatives to call you during reasonable hours at any of the phone numbers listed on your most recent application (a) prior to
each Payment Due Date to remind you of the payment due and (b) and for other matters related to your account. Until you pay all
sums due to Lender under this Agreement, you authorize Lender and its authorized representatives to obtain information about your
Bank Account to determine whether funds are available to repay the Loan. If you are in default under this Agreement, you authorize
Lender and its authorized representatives to call you at work or home, or at other numbers listed in your application, to contact you
by text message (if you have opted in to text messaging) or other wireless communication method on the mobile phone number
listed on your application, to leave a message with a person or a voice mail service at either location stating Lender's name and
phone number, to write, via U.S. Postal Mail at home, or electronic mail at home or work, and to acquire location information about
you from personal contacts on your Loan application. You expressly acknowledge and agree that Lender and its authorized
representatives may employ the use of autodialers or pre-recorded messages in its communications with you, including calls to your
mobile phone.

PRIVACY POLICY AND SECURITY PROCEDURES: Protecting your privacy and maintaining the security of your personal
information is important to us and our employees. Please review our Privacy Policy.

                                                      ACH AUTHORIZATION
                                  (applies only if electronic funding option has been selected)

This ACH Authorization is a part of and relates to this Agreement. You hereby voluntarily authorize us, and our successors,
affiliates, agents, representatives, employees and assigns, to initiate automatic credit and debit entries to your Bank Account in
accordance with this Agreement. You agree that we will initiate a credit entry to your Bank Account for the Amount Financed on or
about the Disbursement Date. You agree that we will initiate a debit entry to your Bank Account on each Payment Due Date in the
payment amount described in the Payment Schedule. For each scheduled payment, whenever a debit entry to your Bank Account
is returned to us for any reason, we may initiate a debit entry to your Bank Account up to two additional times after our first
presentation for each scheduled payment amount. You also agree that we will initiate a debit entry for any accrued returned
payment fees and any interest that accrues on overdue amounts. If your payment is due on a non-business day, it will be
processed on the next business day.

This ACH Authorization is to remain in full force and effect for this transaction until your indebtedness to us for the unpaid principal
balance of this Loan, plus accrued interest (including interest owing on past due amounts) and fees, is fully satisfied. You may only
revoke this ACH Authorization by contacting us directly. If you revoke your ACH Authorization, you agree to remit payments to us
by certified check or money order as set forth in the "Payments" section above. In no event shall any revocation of this ACH
Authorization be effective with respect to entries processed by us prior to our receipt of a notice to withdraw such ACH




                                                                                                                              000005
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 20 of 60 PageID# 329



Authorization.

Your bank may charge you a fee in connection with our credit and/or debit entries. Contact your financial institution for more
information specific to your Bank Account.

You authorize us to verify all of the information that you have provided, including past and/or current information. You agree that
this ACH Authorization is for repayment of a consumer installment loan and that these entries shall recur at substantially regular
intervals as set forth in this Agreement. If there is any missing or erroneous information in or with your loan application regarding
your bank, bank routing and transit number, or account number, then you authorize us to verify and correct such information.

If your payment is returned to us by your financial institution due to insufficient funds, or a closed account, you agree that we may
recover court costs and reasonable attorney's fees incurred by us.

This ACH Authorization is subject to the following provisions:

(1) Right to stop payment and procedure for doing so. If you have told us in advance to make regular payments out of your Bank
Account, you can stop any of these payments. Here's how: Call us at (866) 420-7157, or write us at 93 Mack Road, Suite 600, P.O.
Box 270, Box Elder, Montana 59521, in time for us to receive your request 3 business days or more before the payment is
scheduled to be made. If you call, we may also require you to put your request in writing and get it to us within 14 days after your
call.

(2) Liability for failure to stop payment of preauthorized transfer. If you order us to stop one of these payments 3 business days or
more before the transfer is scheduled, and we do not do so, we will be liable for your losses or damages.

(3) Notice of varying amounts. You agree that you will receive a notice at least 10 days before a payment is debited from your
Bank Account if the payment we are going to debit from your Bank Account falls outside the range disclosed in the Schedule of
Payments above plus applicable fees and charges due to us pursuant to this Agreement and the outstanding balance owing under
this Agreement (which may include the unpaid principal balance and accrued unpaid interest owing under the Loan plus any
returned payment fees and accrued interest on overdue payments).

This ACH authorization is a payment mechanism only and does not give us collection rights greater than those otherwise contained
in this Agreement. This ACH Authorization does not constitute and is not intended to constitute a security interest under the laws of
the Chippewa Cree Tribe.


GOVERNING LAW; SEVERABILITY: This Agreement and the Agreement to Arbitrate are governed by the Indian Commerce
Clause of the Constitution of the United States of America and the laws of the Chippewa Cree Tribe. We do not have a presence in
Montana or any other state of the United States of America. Neither this Agreement nor the Lender is subject to the laws of any
state of the United States. If any provision of this Agreement is held unenforceable, including any provision of the Waiver of Jury
Trail Arbitration Agreement, the remainder of this Agreement shall remain in full force and effect. The Lender may choose to
voluntarily use certain federal laws as guidelines for the provision of services. Such voluntary use does not represent acquiescence
of the Chippewa Cree Tribe to any federal law unless found expressly applicable to the operations of the Chippewa Cree Tribe
offering such services.

                            NOTICE OF WAIVER OF JURY TRIAL AND ARBITRATION AGREEMENT

This Agreement includes a binding Waiver of Jury Trial and Arbitration Agreement. You may opt out of the Waiver of Jury
Trial and Arbitration Agreement by following these instructions:

RIGHT TO OPT-OUT: IF YOU DO NOT AGREE TO ARBITRATE ALL DISPUTES (DEFINED BELOW) IN ACCORDANCE WITH
THE TERMS AND CONDITIONS OF THE WAIVER OF JURY TRIAL AND ARBITRATION, YOU MUST ADVISE US IN WRITING
EITHER BY (A) HAND DELIVERY OR A LETTER POSTMARKED NO LATER THAN 60 DAYS FOLLOWING THE
ORIGINATION DATE SET FORTH AT THE TOP OF THIS AGREEMENT, TO 93 MACK ROAD, SUITE 600, P.O. BOX 270, BOX
ELDER, MONTANA 59521, OR (B) BY EMAIL DATED NO LATER THAN 60 DAYS FOLLOWING THE ORIGINATION DATE
SET FORTH AT THE TOP OF THIS AGREEMENT TO SUPPORT@PLAINGREENLOANS.COM. YOUR OPT-OUT
CORRESPONDENCE MUST CLEARLY PRINT OR TYPE YOUR NAME AND ACCOUNT NUMBER OR SOCIAL SECURITY
NUMBER AND STATE THAT YOU REJECT ARBITRATION. YOUR REJECTION OF ARBITRATION WILL NOT BE EFFECTIVE
IF IT IS NOT IN WRITING OR IF IS DATED LATER THAN 60 DAYS FOLLOWING THE ORIGINATION DATE SET FORTH AT
THE TOP OF THIS AGREEMENT; IT IS NOT SUFFICIENT TO TELEPHONE US. IN THE EVENT YOU OPT OUT OF THE
WAIVER OF JURY TRIAL AND ARBITRATION AGREEMENT, ANY DISPUTES SHALL NONETHELESS BE GOVERNED
UNDER THE LAWS OF THE CHIPPEWA CREE TRIBE AND MUST BE BROUGHT WITHIN THE COURT SYSTEM THEREOF.




                                  WAIVER OF JURY TRIAL AND ARBITRATION AGREEMENT

In this Waiver of Jury Trial and Arbitration Agreement (this "Agreement to Arbitrate"), "Tribe" or "Tribal" refers to the




                                                                                                                             000006
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 21 of 60 PageID# 330



Chippewa Cree Tribe of the Rocky Boy's Indian Reservation, Montana, a federally recognized Indian Tribe, and "Tribal
Law" means any law or regulation duly enacted by the Chippewa Cree Tribe.

PLEASE READ THIS PROVISION OF THE AGREEMENT CAREFULLY. UNLESS YOU EXERCISE YOUR RIGHT TO OPT-
OUT OF ARBITRATION IN THE MANNER DESCRIBED ABOVE, ANY DISPUTE YOU HAVE WITH LENDER OR ANYONE
ELSE UNDER THIS AGREEMENT WILL BE RESOLVED BY BINDING ARBITRATION. ARBITRATION REPLACES THE RIGHT
TO GO TO COURT, INCLUDING THE RIGHT TO HAVE A JURY, TO ENGAGE IN DISCOVERY (EXCEPT AS MAY BE
PROVIDED IN THE ARBITRATION RULES) AND TO PARTICIPATE IN A CLASS ACTION OR SIMILAR PROCEEDING,
WHETHER AS A REPRESENTATIVE, MEMBER OR AS A PRIVATE ATTORNEY GENERAL. IN ARBITRATION, A DISPUTE IS
RESOLVED BY AN ARBITRATOR INSTEAD OF A JUDGE OR JURY. ARBITRATION PROCEDURES ARE SIMPLER AND
MORE LIMITED THAN COURT PROCEDURES. ANY ARBITRATION WILL BE LIMITED TO ADDRESSING YOUR DISPUTE
INDIVIDUALLY AND WILL NOT BE PART OF A CLASS-WIDE OR CONSOLIDATED ARBITRATION PROCEEDING. OTHER
RIGHTS THAT YOU WOULD HAVE IF YOU WENT TO COURT ALSO MAY NOT BE AVAILABLE IN ARBITRATION.

AGREEMENT TO ARBITRATE: You and we (defined below) agree that any Dispute (defined below) will be resolved by
Arbitration.

WHAT ARBITRATION IS: "Arbitration" is a means of having an independent third party resolve a dispute. A "Dispute" is any claim
or controversy of any kind between you and us. As used in this Agreement, the term Dispute is to be given its broadest possible
meaning and includes, without limitation, all claims or demands (whether past, present, or future), including events that occurred
prior to origination of your Loan and whether or not a Loan is provided to you, based on any legal or equitable theory (contract, tort,
or otherwise) and regardless of the type of relief sought (i.e., money, injunctive relief, or declaratory relief). A Dispute includes, by
way of example and without limitation, any claim based upon a tribal, federal or state constitution, statute, ordinance, regulation, or
common law, and any issue concerning the validity, enforceability, or scope of this Agreement or this Agreement to Arbitrate.

This Agreement to Arbitrate benefits and is binding upon you and us. For purposes of this Agreement to Arbitrate, (a) the terms
"you" and "your" include any co-signer, co-obligor, or guarantor and also your heirs, guardian, personal representative, or trustee in
bankruptcy, and (b) the terms "we," "our," and "us" mean Lender, Lender's affiliated companies, the Tribe, Lender's servicing and
collection representatives and agents, and each of their respective agents, representatives, employees, officers, directors,
members, managers, attorneys, successors, predecessors, and assigns.

HOW ARBITRATION WORKS: If a Dispute arises, the party asserting the claim or demand must initiate arbitration, provided you
or we may first try to resolve the matter informally or through customary business methods, including collection activity. Any party
to a Dispute may send the other party written notice by certified mail return receipt requested at the address appearing at the top of
this Agreement of their intent to arbitrate and setting forth the subject of the dispute along with the relief requested, even if a lawsuit
has been filed. The party requesting arbitration must choose either of the following arbitration firms for initiating and pursuing
arbitration: the American Arbitration Association ("AAA") or JAMS, The Resolution Experts ("JAMS"). If the parties mutually agree,
a private party, such as a retired judge, may serve as the arbitrator. If you claim you have a Dispute with us, but do not initiate
arbitration or select an arbitrator, we may do so. You may obtain copies of the current rules of each of the arbitration firms and
forms and instructions for initiating arbitration by contacting them as follows:

                  American Arbitration Association                               JAMS, The Resolution Experts
                   335 Madison Avenue, Floor 10                                   1920 Main Street, Suite 300
                     New York, NY 10017-4605                                             Irvine, CA 92614
                   Web site: http://www.adr.org                                Web site: http://www.jamsadr.com
                    Telephone: (800) 778-7879                                    Telephone: (949) 224-1810 or
                                                                                          (800) 352-5267


The policies and procedures of the selected arbitration firm applicable to consumer transactions will apply provided such policies
and procedures do not contradict this Agreement to Arbitrate or Tribal Law. To the extent the arbitration firm's rules or procedures
are different than the terms of this Agreement to Arbitrate, the terms of this Agreement to Arbitrate will apply.

WHAT ARBITRATION COSTS: No matter which party initiates the arbitration, we will advance or reimburse filing fees and other
costs or fees of arbitration, provided each party will be initially responsible for its own attorneys’ fees and related costs. Unless
prohibited by Tribal Law, the arbitrator may award fees, costs, and reasonable attorneys’ fees to the party who substantially
prevails in the arbitration.

LOCATION OF ARBITRATION: Any arbitration under this Agreement may be conducted either on Tribal land or within thirty (30)
miles of your residence, at your choice, provided that this accommodation for you shall not be construed in any way (a) as a
relinquishment or waiver of the sovereign status or immunity of the Tribe, or (b) to allow for the application of any law other than
Tribal Law.

WAIVER OF RIGHTS: BY ENTERING INTO THIS AGREEMENT, YOU ACKNOWLEDGE AND AGREE THAT:

     (a)   YOU ARE GIVING UP YOUR RIGHT TO HAVE A TRIAL BY JURY TO RESOLVE ANY DISPUTE ALLEGED
           AGAINST US;

     (b)   YOU ARE GIVING UP YOUR RIGHT TO HAVE A COURT RESOLVE ANY DISPUTE ALLEGED AGAINST US OR




                                                                                                                                000007
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 22 of 60 PageID# 331



           RELATED THIRD PARTIES;AND

     (c)   YOU ARE GIVING UP YOUR RIGHT TO SERVE AS A REPRESENTATIVE, AS A PRIVATE ATTORNEY GENERAL,
           OR IN ANY OTHER REPRESENTATIVE CAPACITY, AND/OR TO PARTICIPATE AS A MEMBER OF A CLASS OF
           CLAIMANTS, IN ANY LAWSUIT FILED AGAINST US.

The arbitrator has the ability to award all remedies available under Tribal Law, whether at law or in equity, to the
prevailing party, except that the parties agree that the arbitrator has no authority to conduct class-wide proceedings and
will be restricted to resolving the individual Disputes between the parties. The validity, effect and enforceability of this
waiver of class action lawsuit and class-wide arbitration, if challenged, are to be determined solely by a court of
competent jurisdiction located within the Chippewa Cree Tribe, and not by the AAA, JAMS or an arbitrator. If the court
refuses to enforce the class-wide arbitration waiver, or if the arbitrator fails or refuses to enforce the waiver of class-wide
arbitration, the parties agree that the Dispute will proceed in Tribal court and will be decided by a Tribal court judge,
sitting without a jury, under applicable court rules and procedures and may be enforced by such court through any
measures or reciprocity provisions available. As an integral component of accepting this Agreement, you irrevocably
consent to the jurisdiction of the Tribal courts for purposes of this Agreement.

APPLICABLE LAW AND JUDICIAL REVIEW OF ARBITRATOR'S AWARD: THIS AGREEMENT TO ARBITRATE IS MADE
PURSUANT TO A TRANSACTION INVOLVING THE INDIAN COMMERCE CLAUSE OF THE CONSTITUTION OF THE UNITED
STATES OF AMERICA, AND SHALL BE GOVERNED BY THE LAW OF THE CHIPPEWA CREE TRIBE. The arbitrator shall
apply Tribal Law and the terms of this Agreement, including this Agreement to Arbitrate and the waivers included herein. The
arbitrator may decide, with or without a hearing, any motion that is substantially similar to a motion to dismiss for failure to state a
claim or a motion for summary judgment. The arbitrator shall make written findings and the arbitrator's award may be filed with a
Tribal court. The arbitration award shall be supported by substantial evidence and must be consistent with this Agreement and
Tribal Law, and if it is not, it may be set aside by a Tribal court upon judicial review.

SURVIVAL; SEVERABILITY: This Agreement to Arbitrate will survive: (i) termination or changes in this Agreement, the Loan, or
the relationship between us concerning the Loan; (ii) the bankruptcy of any party; and (iii) any transfer, sale or assignment of the
Agreement, or any amounts owed on the Loan, to any other person or entity. The Agreement to Arbitrate continues in full force and
effect, even if your obligations have been paid or discharged through bankruptcy. This Agreement to Arbitrate survives any
termination, amendment, expiration, or performance of any transaction between you and us and continues in full force and effect
unless you and we otherwise agree in writing. If any of this Agreement to Arbitrate is held invalid, the remainder shall remain in
effect.



PLEASE TAKE THE TIME TO CAREFULLY REVIEW THIS AGREEMENT AND THE WAIVER OF JURY TRIAL AND
ARBITRATION AGREEMENT. IF YOU HAVE QUESTIONS OR ARE NOT CERTAIN THAT YOU FULLY UNDERSTAND THIS
LOAN TRANSACTION, PLEASE CONTACT CUSTOMER SERVICE AT (866) 420-7157.

This Agreement includes a Waiver of Jury Trial and Arbitration Agreement that may be enforced by you and us. By signing
this Agreement you agree that it was filled in before you did so and that you have received a completed copy of it. You further
agree that you have read and understand all of the terms of this Agreement, including the part entitled "Waiver of Jury
Trial and Arbitration Agreement."

By electronically signing this Agreement: You certify that the information given in connection with this Agreement is true and
correct. You authorize us to verify the information given in connection with this Agreement and you give us consent to obtain
information about you from a consumer reporting agency or other sources. You acknowledge, represent and warrant that: (a)
you have read, understand, and agree to all of the terms and conditions of (i) this Agreement, including the truth-in-
lending disclosures and the Waiver of Jury Trial and Arbitration Agreement, and (ii) Lender's Privacy Policy, (b) this
Agreement contains all of the terms of the agreement between you and us and that no representations or promises other
than those contained in this Agreement have been made, (c) you specifically authorize withdrawals and deposits to and
from your Bank Account as described in this Agreement, if you have elected below to repay this Loan via ACH debits to
your Bank Account, (d) you are not a debtor under any proceeding in bankruptcy and have no intention to file a petition for
relief under any chapter of the United States Bankruptcy Code, (e) this Agreement was filled in before you signed it, and (f)
you have the ability to print or retain a completed copy of this Agreement. You further acknowledge that we may withhold
funding of your Loan until we ensure all the information you gave us on your application is true and we decide whether
you meet our requirements to receive the Loan.


b I understand, acknowledge and agree that Plain Green, LLC is a tribal lending entity wholly owned by
c
d
e
f
g
Chippewa Cree Tribe of the Rocky Boy’s Indian Reservation, Montana, a federally recognized tribe. I further
understand, acknowledge and agree that this loan is governed by the laws of the Chippewa Cree Tribe and is
not subject to the provisions or protections of the laws of my home state or any other state.




                                                                                                                             000008
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 23 of 60 PageID# 332



 b By checking here you authorize us to verify all of the information that you have provided, including past and/or current
 c
 d
 e
 f
 g
information. You certify that you have made or will make all payments on any previous loans with Lender, and
you agree that Lender may cancel this loan if any payment on your previous loans is not made or is returned
unpaid. You agree that we may obtain information about you and your Bank Account from your Bank and/or consumer
reporting agencies until all amounts owing pursuant to this Agreement are paid in full. If there is any missing or erroneous
information in or with your loan application regarding your bank, bank routing number, or account number, then you
authorize us to verify and correct such information.


Please review and select one of these funding options:
i ELECTRONIC (as soon as the next business day): By checking here you authorize us to effect ACH debit and credit
j
k
l
m
n
entries for this Loan and you agree to the ACH Authorization set forth in this Agreement. You acknowledge and agree that
the ACH Authorization inures to the benefit of Plain Green, LLC, its affiliates, agents, representatives, employees,
successors, and registered assigns. You agree that the ACH Authorization is subject to our approving this Agreement. If you
agree to the ACH Authorization in this Agreement and authorize debit and credit entries for this Loan, you also agree that
the ACH Authorization set forth in this Agreement is to remain in full force and effect for this Loan until your indebtedness to
us for the unpaid principal balance of this Loan, plus accrued interest (including interest owing on past due amounts) and
fees, is fully satisfied. If you revoke your ACH Authorization, you agree to provide us with another means of payment
acceptable to us in our sole discretion. Check this box if you agree to the ACH Authorization in this Agreement.

j POSTAL MAIL (up to 7 to 10 days): By checking here, you request Loan proceeds be distributed to you by check and
k
l
m
n
delivered by regular mail through the United States Postal System. If you elect to receive your proceeds by mail, you must
also make your payments via money order or certified check by mail as explained in the "Payments" section above. You
should allow 7 to 10 days for delivery of the Loan proceeds, and you acknowledge that your Loan proceeds check may not
be mailed to you until your "Right of Rescission" (as described above) has expired. You acknowledge that interest begins
accruing on the Effective Date set forth at the top of this Agreement. If you have elected to receive your Loan proceeds by
check, the ACH Authorization set forth above does not apply to the funding or repayment of your Loan.

Your Full Name:                  Type 'I Agree':           Date:
Lawrence Mwethuku                I agree                   8/22/2013



Plain Green, LLC
                                               Date:
                                               8/22/2013

By: Joel Rosette, CEO




                                                                                                                     000009
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 24 of 60 PageID# 333




                       EXHIBIT J
        Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 25 of 60 PageID# 334


THIS AGREEMENT SHALL NOT CONSTITUTE A "NEGOTIABLE INSTRUMENT"

CONSUMER LOAN AGREEMENT
LOAN NUMBER: 67893953

                                                           Plain Green, LLC
                                                       93 Mack Road, Suite 600
                                                             PO Box 270
                                                         Box Elder, MT 59521


BORROWER'S INFORMATION:




Lender: Plain Green, LLC                                             Borrower's Name:
                                                                     Lawrence Mwethuku

Origination Date: 5/28/2013                                          Borrower's ID:
This is the date you signed and submitted this loan
agreement to the lender.

Effective Date: 5/29/2013                                            Borrower's Address:
The date you begin to pay interest on the loan.


Final Payment Due Date:                                              Borrower's Bank and Account Number for ACH
11/12/2013                                                           Transfers (the "Bank Account"):




This Loan Agreement (the "Agreement") is subject solely to the exclusive laws and jurisdiction of the Chippewa Cree Tribe
of the Rocky Boy's Indian Reservation, Montana ("Chippewa Cree"). In this Agreement, "you" and "your" refer to the Borrower
identified above. "We", "us", "our", and Lender refer to Plain Green, LLC, a lender authorized by the laws of the Chippewa Cree.
"Loan" means this consumer installment loan. By executing this Agreement, you hereby acknowledge and consent to be bound to the
terms of this Agreement, consent to the sole subject matter and personal jurisdiction of the Chippewa Cree Tribal Court, and further
agree that no other state or federal law or regulation shall apply to this Agreement, its enforcement or interpretation.


TRUTH IN LENDING DISCLOSURES: The disclosures below are provided to you so that you may compare the cost of this loan to other
loan products you might obtain in the United States. Our inclusion of these disclosures does not mean that we or any subsequent holder
of this Agreement consent to application of state or federal law to us, to the Loan, or this Agreement.




                                                    Ex. J
                                                    PG- Motion to Dismiss
                                                                                                                       000001
       Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 26 of 60 PageID# 335
                                           TRUTH-IN-LENDING DISCLOSURES



            ANNUAL                   FINANCE CHARGE                  Amount Financed                Total of Payments
      PERCENTAGE RATE               The dollar amount the           The amount of credit         The amount you will have
   The cost of your credit as a      credit will cost you.       provided to you or on your      paid after you have made
          yearly rate.                                                     behalf.              all payments as scheduled.

            373.97%                        $568.20                        $500.00                      $1,068.20

 Your payment schedule (the "Payment Schedule") will be:

   Number of Payments         Amount of Payments          When Payments Are Due (each, a "Payment Due Date")
                                                                       6/11/2013, 6/25/2013,
                                                                       7/9/2013, 7/23/2013,
                                                                       8/6/2013, 8/20/2013,
             11                      $89.02
                                                                       9/3/2013, 9/17/2013,
                                                                      10/1/2013, 10/15/2013,
                                                                             10/29/2013
              1                      $88.98                                  11/12/2013

  PREPAYMENT: If you pay off the Loan early, you will not have to pay a penalty, and you may be entitled to a refund of
  part of the finance charge.

  SECURITY INTEREST: If you have chosen the ACH Debit Authorization option, your ACH authorization is security for
  this loan.

  See the Loan Agreement for any additional information about nonpayment, default, any required repayment in full
  before the scheduled date and prepayment penalties.


Itemization of Amount Financed:                                                                                  $500.00
  Amount given to you directly:                                                                                  $500.00


PROMISE TO PAY: You promise to pay to the order of Lender or any registered assignee of this Agreement the principal
sum of $500.00 plus interest from the date of this Loan at the rate of 375.0010% per year until this Loan is repaid in full.
You promise to pay these amounts on the dates listed in the Payment Schedule above. You also promise to pay to us or to
any subsequent holder of this Agreement any other fees provided for under this Agreement.

PAYMENTS: You promise to pay the amount of the Total of Payments shown above on or before the Payment Due Date. If
you have chosen the ACH Debit Authorization option, you must make arrangements with us by 5:00 PM Eastern Time, on the
business day prior to the Payment Due Date, so an authorized ACH entry is not initiated. If you choose to mail a payment,
(i) all payments shall be mailed to PO Box 270, Box Elder, MT 59521, (ii) payment must reach this address by the Payment
Due Date, and (iii) you should notify us prior to 5:00 PM Eastern Time the business day prior to Payment Due Date so an
authorized ACH entry is not initiated prior to receipt of the payment. In addition, you agree that we cannot make and have
not made the Loan contingent upon your obtaining any other product or service from us or anyone else. If you have chosen
to receive your loan proceeds via check please mail your payments by the dates indicated within "When Payments Are Due"
section of this Agreement to 93 Mack Road, Suite 600, PO Box 270, Box Elder, MT 59521.

CALCULATION OF INTEREST AND PAYMENTS: The interest charged hereunder is calculated using the simple interest
method and has been computed upon the basis that you will pay all installments on the scheduled Payment Dates. Interest
shall not be payable in advance or compounded.

WHEN YOU BEGIN PAYING INTEREST: You begin to pay us interest on the Loan on the date the proceeds of the Loan are
deposited into your Bank Account, or, if you elect to receive Loan proceeds by check through the mail, the date we issue the
check (the "Effective Date"). You will be charged interest on the unpaid amount of the Loan each day from the Effective Date
until the Loan is paid in full. In calculating your payments, we have assumed you will make each payment on the day and in
the amount due. If any payment is received after the payment due date, you must pay any additional interest that accrues
after such date. If any payment is made before the payment due date, the interest due will be reduced. The amount of this
decrease or increase in interest due will be reflected in the final payment that is due. Time is of the essence, which means
that there are no grace periods for when payments must be made. If any payment is due on a day on which your bank is not
                                                                                                            000002
        Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 27 of 60 PageID# 336
open, then such payment shall be due on the next day upon which your bank is open.

VERIFICATION: You authorize us to verify the information you provided to us in connection with your Loan application. You
give us consent to obtain information about you from a consumer reporting agency or other sources. We reserve the right to
withhold funding of this Loan, at any time prior to disbursement, to allow us to verify the information you have provided to
us.

ACH AUTHORIZATION TO CREDIT BANK ACCOUNT: Unless the proceeds of this Agreement are applied to any
outstanding loan balance that you may owe to us, and you do not elect to receive the Loan proceeds by check through
regular mail, you authorize us and our agents to initiate an Automated Clearing House ("ACH") credit entry to your Bank
Account to disburse the proceeds of this Loan.

ACH AUTHORIZATION TO DEBIT BANK ACCOUNT: Unless you chose to mail to us a check or money order as payment
for this Loan, you authorize us, and our agents, successors, employees, and registered assigns to withdraw money from your
Bank Account for each payment you owe us, including any returned payment charges and the total amount you owe if you
do not pay us when you agreed in this Agreement. You agree we can withdraw money from your Bank Account (called an
'ACH debit entry') on each scheduled payment date shown on the Payment Schedule above. This right to withdraw money
from your Bank Account will remain in full force until the earlier of the following occurs: (i) you pay us everything that you
owe us under this Agreement or (ii) you tell us or the institution holding your Bank Account (the "Paying Bank") that we can
no longer withdraw money from your Bank Account in enough time to let the Paying Bank or us stop taking the money out of
your Bank Account. You acknowledge and agree that this ACH Authorization to Debit Bank Account inures to the benefit of
Plain Green, LLC, its affiliates, agents, employees, successors, and registered assigns.

NOTICE OF VARYING AMOUNTS: For those customers who have chosen the ACH Debit Authorization, please note that
you have the right to receive notice of all withdrawals from your Bank Account by an ACH Debit that vary in amount.
However, by agreeing to let us withdraw the money from your Bank Account, you agree we only have to tell you the range
of withdrawals that we can make. The range of withdrawals will be either an amount equal to your installment payment or
an amount equal to the outstanding balance under the Loan (which may be greater than or less than an installment payment
based upon your payment history), plus a returned payment fee as specified below. For any withdrawal outside of this
specified range, we will send you a notice. Therefore, by signing this Agreement below, you are choosing to only receive
notice when a withdrawal exceeds the amount in the specified range. You authorize us to vary the amount of the amount of
any withdrawal as needed to repay installments due on the Loan as modified by any partial prepayments you make.

TERMINATING ACH DEBIT AUTHORIZATION: For those customers who have chosen the ACH Debit Authorization, the
ACH debit authorization will remain in full force and effect until the earlier of the following occurs: (i) you satisfy all of your
payment obligations under this Agreement or (ii) you tell us or the Paying Bank that we can no longer withdraw money from
your Bank Account in enough time to let the Paying Bank or us stop taking the money out of your Bank Account. Terminating
your ACH authorization does not relieve you of your obligation to pay your Loan in full.

REMOTELY CREATED CHECK AUTHORIZATION: If you terminate any previous ACH Debit Authorization you provided to
us or we do not receive a payment by the Payment Due Date, you authorize us and our agents, successors and assigns to
create and submit remotely created checks for payment to us in the amount of each payment owing under this Agreement,
including any returned payment charges or other amounts owing to us upon acceleration of this Loan as a result of your
Default. Your typed signature below shall constitute your authorization to us to authenticate remotely created checks, which
are also known as demand drafts, telechecks, preauthorized drafts, or paper drafts. If you believe we charged your Bank
Account in a manner not contemplated by this authorization, then please contact us. You authorize us to vary the amount of
any preauthorized payment by remotely created check as needed to repay installments and any other payments due under
this Agreement.

PAYMENT BY CHECK OR MONEY ORDER: You may pay each payment owing under this Agreement by check or money
order.

CHECK CONVERSION NOTIFICATION: When you provide a check as payment, you agree we can either use information
from your check to make a one-time electronic withdrawal from your Bank Account or to process the payment as a check
transaction. When we use information from your check to make a withdrawal from your Bank Account, funds may be
withdrawn from your Bank Account as soon as the same day we receive your payment and you will not receive your check
back from your financial institution. For questions, please call our customer service phone number: (866) 420-7157.

PAYMENT APPLICATION: Lender will apply your payments in the following order: (1) to any fees due, (2) to earned but

                                                                                                                000003
       Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 28 of 60 PageID# 337
unpaid interest, and (3) to principal amounts outstanding.

SECURITY INTEREST DISCLOSURE: To the extent that your agreement to have us withdraw money from your Bank
Account is deemed a security interest under the law of the Chippewa Cree Tribe, you hereby grant to us a security interest in
such withdrawal authorization using the ACH system.

PREPAYMENT: You may prepay all or part of the amount you owe us at any time without penalty. If you do so, you must
pay the interest accrued on your Loan and all other amounts due up to the date of your payment.

REFINANCE POLICY: We, in our sole discretion, will determine whether your Loan may be refinanced.

RETURNED PAYMENT FEE: If any payment made by you on this Loan is not honored or cannot be processed for any
reason, including not enough money in your Bank Account, you agree to pay us a fee of $30.00. You authorize us and our
agents to make a one-time withdrawal from your Bank Account to collect this fee, if you have also selected the ACH Debit
Authorization. Your financial institution may also impose a fee.

DEFAULT: You will have broken your promise you made to us in this Agreement (each a "Default") if: (a) you provide false
or misleading information about yourself, your employment, or your financial condition prior to entering into this Agreement,
(b) if you fail to make a payment by the due date or if your payment is returned to us for any reason, or (c) if you file
bankruptcy or become a debtor under the Federal Bankruptcy Laws.

CONSEQUENCES OF DEFAULT: Should you not do the things you agreed to under this Agreement, we may, at our option,
do any one or more of the following things: (a) require you to immediately pay us everything you owe us; (b) withdraw
money from your Bank Account that was not available when we tried to withdraw it at an earlier time, if you have selected
the ACH Debit Authorization; and (c) pursue all legally available means to collect what you owe us. In the event we declare
all amounts owed under this Agreement immediately due because you did not pay us, then you further authorize us and our
agents to withdraw money from your Bank Account in the full amount due under this Agreement, if you have selected the
ACH Debit Authorization. By choosing any one of more of these, we do not give up our right to use another way to collect
the money you owe us later. We may decide not to use any of the ways described above to get back the money that you
owe us. If so, we do not give up our right to consider what you said you would do to make payment(s) and, if you fail to
make those payment(s), we will consider you to be in Default.

CREDIT REPORTING: We may report information about your Loan to credit bureaus. Late payments, missed payments, or
other things you do may be reflected on your credit report.

RIGHT TO CANCEL: You may rescind or cancel this Loan, without cost or further obligation to Lender, if you do so on or
before 5:30 p.m., Eastern Time, on the fifth business day after the Origination Date (the "Rescission Deadline"). To cancel,
call Lender at (866) 420-7157 to tell us you wish to rescind this Loan and provide us written notice of rescission as directed
by our customer service representative. If you have provided an ACH Authorization: In the event that we timely receive your
written notice of rescission on or before the Rescission Deadline but before the Loan proceeds have been credited to your
Bank Account, we will not effect a credit entry to your Bank Account and both ours and your obligations under this
Agreement will be rescinded. In the event that we timely receive your written notice of rescission on or before the Rescission
Deadline but after the Loan proceeds have been credited to your Bank Account because you have provided an ACH
Authorization, we will effect a debit to your Bank Account for the principal amount owing under this Agreement. If we receive
payment of the principal amount via the debit, ours and your obligations under this Agreement will be rescinded. If we do
not receive payment of the principal amount via the debit, then the Agreement will remain in full force and effect until all
sums due and owing under this Agreement are repaid in full inclusive of interest and fees, if any. If you have elected to
receive your Loan proceeds via check delivered by mail: In the event that we timely receive your written notice of rescission
on or before the Rescission Deadline, and (a) if we have not mailed the check representing the Loan proceeds to you or (b) if
you have not cashed the check representing the Loan proceeds, then we will cancel the check and both ours and your
obligations under this Agreement will be rescinded.

BORROWER'S BANK CHARGES: You will not hold us or our agents responsible for any fees you must pay as a result of any
check or withdrawal request being presented at your bank in connection with this Agreement.

TRANSFER OF RIGHTS AND MAINTENANCE OF REGISTER: We may assign or transfer this Agreement, or any of our
rights hereunder, to another person or entity without notice or consent from you. Regardless of any transfer, this Agreement
shall remain exclusively subject to the laws and courts of the Chippewa-Cree Tribe. Plain Green, LLC, (the "Registrar") acting
solely for this purpose as your irrevocably appointed agent, shall maintain at an office located in the United States a copy of

                                                                                                             000004
       Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 29 of 60 PageID# 338
each assignment of this Agreement delivered to it and a register (the "Register") for the recordation of the names and
addresses of the original owner and assignees, and the amounts of principal and interest owing to each from time to time
pursuant to the terms of this Loan. The Register may be in electronic form. The entries of the Register shall be conclusive,
and you, the Registrar, the Lender and all of its assignees shall treat each person whose name is recorded in the Register
pursuant to these terms as the owner of such principal and interest payments for all purposes of this Agreement,
notwithstanding notice to the contrary. The name of the owner in the Register shall be available to you by written request to
the Registrar at any reasonable time and from time to time upon reasonable prior notice. In addition to the foregoing, the
Registrar shall include on the Register the names and addresses of those persons holding participation interests in the Loan
of which it has notice. Any fees and expenses of the Registrar for its services shall be charged to the registered owner of the
loan and not to you.

WAIVER OF JURY TRIAL AND ARBITRATION.

RIGHT TO OPT OUT. IF YOU DO NOT WISH YOUR ACCOUNT TO BE SUBJECT TO THIS AGREEMENT TO ARBITRATE, YOU
MUST ADVISE US IN WRITING AT 93 MACK ROAD, SUITE 600, PO BOX 270, BOX ELDER, MT 59521 OR VIA E-MAIL AT
SUPPORT@PLAINGREENLOANS.COM. YOU MUST CLEARLY PRINT OR TYPE YOUR NAME AND ACCOUNT NUMBER OR SOCIAL
SECURITY NUMBER AND STATE THAT YOU REJECT ARBITRATION. YOU MUST GIVE WRITTEN NOTICE; IT IS NOT
SUFFICIENT TO TELEPHONE US. WE MUST RECEIVE YOUR LETTER OR E-MAIL WITHIN SIXTY (60) DAYS AFTER THE DATE
YOUR LOAN FUNDS OR YOUR REJECTION OF ARBITRATION WILL NOT BE EFFECTIVE. IN THE EVENT YOU OPT OUT OF THIS
AGREEMENT TO ARBITRATE, ANY DISPUTES HEREUNDER SHALL NONETHELESS BE GOVERNED UNDER THE LAWS OF THE
CHIPPEWA CREE TRIBE AND MUST BE BROUGHT WITHIN THE COURT SYSTEM THEREOF.

PLEASE READ THIS PROVISION OF THE AGREEMENT CAREFULLY. Unless you exercise your right to opt-out of
arbitration in the manner described above, any dispute you have with Lender or anyone else under this Agreement will be
resolved by binding arbitration. Arbitration replaces the right to go to court, including the right to have a jury, to engage in
discovery (except as may be provided in the arbitration rules), and to participate in a class action or similar proceeding. In
arbitration, a dispute is resolved by an arbitrator instead of a judge or jury. Arbitration procedures are simpler and more
limited than court procedures. Any arbitration will be limited to addressing your dispute individually and will not be part of a
class-wide or consolidated arbitration proceeding.

Agreement to Arbitrate. You agree that any Dispute (defined below) will be resolved by arbitration in accordance with
Chippewa Cree tribal law.

Arbitration Defined. Arbitration is a means of having an independent third party resolve a Dispute. A "Dispute" is any
controversy or claim between you and Lender, its marketing agent, collection agent, any subsequent holder of this Note, or
any of their respective agents, affiliates, assigns, employees, officers, managers, members or shareholders (each considered
a "Holder" for purposes of this Agreement). The term Dispute is to be given its broadest possible meaning and includes,
without limitation, all claims or demands (whether past, present, or future, including events that occurred prior to the
opening of this Account), based on any legal or equitable theory (tort, contract, or otherwise), and regardless of the type of
relief sought (i.e. money, injunctive relief, or declaratory relief). A Dispute includes, by way of example and without
limitation, any claim arising from, related to or based upon marketing or solicitations to obtain the loan and the handling or
servicing of your account whether such Dispute is based on a tribal, federal or state constitution, statute, ordinance,
regulation, or common law, and including any issue concerning the validity, enforceability, or scope of this loan or the
Agreement to Arbitrate.

You acknowledge and agree that by entering into this Arbitration Provision:

(a) YOU ARE GIVING UP YOUR RIGHT TO HAVE A TRIAL BY JURY TO RESOLVE ANY DISPUTE ALLEGED AGAINST
US OR RELATED THIRD PARTIES;

(b) YOU ARE GIVING UP YOUR RIGHT TO HAVE A COURT RESOLVE ANY DISPUTE ALLEGED AGAINST US OR
RELATED THIRD PARTIES; and

(c) YOU ARE GIVING UP YOUR RIGHT TO SERVE AS A REPRESENTATIVE, AS A PRIVATE ATTORNEY GENERAL, OR
IN ANY OTHER REPRESENTATIVE CAPACITY, AND/OR TO PARTICIPATE AS A MEMBER OF A CLASS OF
CLAIMANTS, IN ANY LAWSUIT FILED AGAINST US AND/OR RELATED THIRD PARTIES.

Choice of Arbitrator. Any party to a Dispute, including a Holder or its related third parties, may send the other party
written notice by certified mail return receipt requested at the address appearing at the top of this Agreement of their intent

                                                                                                               000005
        Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 30 of 60 PageID# 339
to arbitrate and setting forth the subject of the dispute along with the relief requested, even if a lawsuit has been filed.
Regardless of who demands arbitration, you shall have the right to select any of the following arbitration organizations to
administer the arbitration: the American Arbitration Association (1-800-778-7879) http://www.adr.org; JAMS (1-800-352-
5267) http://www.jamsadr.com; or an arbitration organization agreed upon by you and the other parties to the Dispute. The
arbitration will be governed by the chosen arbitration organization's rules and procedures applicable to consumer disputes,
to the extent that those rules and procedures do not contradict either the law of the Chippewa Cree Tribe or the express
terms of this Agreement to Arbitrate, including the limitations on the Arbitrator below. The party receiving notice of
Arbitration will respond in writing by certified mail return receipt requested within twenty (20) days. You understand that if
you demand Arbitration, you must inform us of your demand and of the arbitration organization you have selected. You also
understand that if you fail to notify us, then we have the right to select the arbitration organization. Any arbitration under
this Agreement may be conducted either on tribal land or within thirty miles of your residence, at your choice, provided that
this accommodation for you shall not be construed in any way (a) as a relinquishment or waiver of the Chippewa Cree's
Tribes sovereign status or immunity, or (b) to allow for the application of any law other than the law of the Chippewa Cree
Tribe.

Cost of Arbitration. We will pay the filing fee and any costs or fees charged by the arbitrator regardless of which party
initiates the arbitration. Except where otherwise provided by the law of the Chippewa Cree Tribe, each party will be
responsible for its own attorneys' fees and other expenses. Unless prohibited by law, the arbitrator may award fees, costs,
and reasonable attorneys' fees to the party who substantially prevails in the arbitration.

Waiver of Jury Trial and Waiver of Ability to Participate in a Class Action. YOU HEREBY AGREE THAT YOU ARE
WAIVING YOUR RIGHT TO A JURY TRIAL, TO HAVE A COURT DECIDE YOUR DISPUTE, AND YOU ARE WAIVING YOUR ABILITY
TO SERVE AS A REPRESENTATIVE, AS A PRIVATE ATTORNEY GENERAL, TO PARTICIPATE IN A CLASS ACTION LAWSUIT, OR
IN ANY OTHER REPRESENTATIVE CAPACITY FOR OTHERS IN THE ARBITRATION, AND TO CERTAIN DISCOVERY AND OTHER
PROCEDURES THAT WOULD BE AVAILABLE IN A LAWSUIT. The arbitrator has the ability to award all remedies available
under the Chippewa Cree Tribe's tribal law, whether at law or in equity, to the prevailing party, except that the parties agree
that the arbitrator has no authority to conduct class-wide proceedings and will be restricted to resolving the individual
Disputes between the parties. The validity, effect, and enforceability of this waiver of class action lawsuit and class-wide
arbitration is to be determined solely by a court of competent jurisdiction located within the Chippewa Cree Tribe, and not by
the arbitrator. If the court refuses to enforce the class-wide arbitration waiver, or if the arbitrator fails or refuses to enforce
the waiver of class-wide arbitration, the parties agree that the Dispute will proceed in tribal court and will be decided by a
tribal court judge, sitting without a jury, under applicable court rules and procedures and may be enforced by such court
through any measures or reciprocity provisions available.

Applicable Law and Judicial Review. THIS AGREEMENT TO ARBITRATE IS MADE PURSUANT TO A TRANSACTION
INVOLVING THE INDIAN COMMERCE CLAUSE OF THE CONSTITUTION OF THE UNITED STATES OF AMERICA, AND SHALL BE
GOVERNED BY THE LAW OF THE CHIPPEWA CREE TRIBE. The arbitrator will apply the laws of the Chippewa Cree Tribe and
the terms of this Agreement, including the Agreement to Arbitrate. The arbitrator must apply the terms of this Agreement to
Arbitrate, including without limitation the waiver of class-wide arbitration. The arbitrator may decide, with or without a
hearing, any motion that is substantially similar to a motion to dismiss for failure to state a claim or a motion for summary
judgment. If allowed by statute or applicable law, the arbitrator may award statutory damages and/or reasonable attorneys'
fees and expenses. The arbitrator will make written findings and the arbitrator's award may be filed with the tribal court. The
arbitration award will be supported by substantial evidence and must be consistent with this Agreement and applicable law
or may be set aside by the tribal court upon judicial review.

Other Provisions. This Agreement to Arbitrate will survive: (i) termination or changes in this Agreement, the Account, or
the relationship between us concerning the Account; (ii) the bankruptcy of any party; and (iii) any transfer, sale or
assignment of my Note, or any amounts owed on my account, to any other person or entity. This Agreement to Arbitrate
benefits and is binding upon you, your respective heirs, successors and assigns. It also benefits and is binding upon us, our
successors and assigns, and related third parties. The Agreement to Arbitrate continues in full force and effect, even if your
obligations have been paid or discharged through bankruptcy. The Agreement to Arbitrate survives any termination,
amendment, expiration, or performance of any transaction between you and us and continues in full force and effect unless
you and we otherwise agree in writing. If any of this Agreement to Arbitrate is held invalid, the remainder shall remain in
effect.

GOVERNING LAW. This Agreement and the Agreement to Arbitrate are governed by the Indian Commerce Clause of the
Constitution of the United States of America and the laws of the Chippewa Cree Tribe. We do not have a presence in
Montana or any other state of the United States of America. Neither this Agreement nor the Lender is subject to the laws of
any state of the United States.

                                                                                                                000006
       Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 31 of 60 PageID# 340

TELEPHONE CALLS. You hereby agree that in the event we need to contact you to discuss your account or the repayment
of your Loan, we may call you at any number, including any cell phone number you have provided, and that we may leave
an autodialed or prerecorded message or use other technology (including, but not limited to, SMS messaging or other text
messaging) to contact or to communicate with you.

VERIFICATION. You authorize us to verify all of the information you have provided in obtaining approval of this Loan.

This Agreement includes a Waiver of Jury Trial and Arbitration Provision that may be enforced by you and us. By
signing this Agreement you agree that it was filled in before you did so and that you have received a completed copy of it.
You further agree that you have read and understand all of the terms of this Agreement, including the part
entitled "Waiver of Jury Trial and Arbitration Provision."

By electronically signing this Agreement you certify that the information given in connection with this Agreement is true
and correct. You authorize us to verify the information given in connection with this Agreement, and you give us consent to
obtain information about you from a consumer reporting agency or other sources. You acknowledge, represent and
warrant that (a) you have read, understand, and agree to all of the terms and conditions of this Agreement,
including the Disclosures and the Arbitration Agreement and Waiver of Jury Trial, (b) this Agreement contains
all of the terms of the agreement between you and us and that no representations or promises other than those
contained in this Agreement have been made, (c) you specifically authorize withdrawals and deposits to and
from your Bank Account as described in this Agreement, if you have selected the ACH Debit Authorization, (d)
you are not a debtor under any proceeding in Bankruptcy and have no intention to file a petition for relief under
any chapter of the United States Bankruptcy Code, (e) this Agreement was filled in before you signed it, and (f)
you have the ability to print or retain a completed copy of this Agreement. You further acknowledge that we
may withhold funding of your Loan until we check to make sure all the information you gave us on your
application is true and we decide whether you meet our requirements to receive the Loan.


b I understand, acknowledge and agree that Plain Green, LLC is a tribal lending entity wholly owned by
c
d
e
f
g
Chippewa Cree Tribe of the Rocky Boy's Indian Reservation, Montana, a federally recognized tribe. I further
understand, acknowledge and agree that this loan is governed by the laws of the Chippewa Cree Tribe and is
not subject to the provisions or protections of the laws of my home state or any other state.



 b By checking here you authorize us to verify all of the information that you have provided, including past and/or current
 c
 d
 e
 f
 g
information. You certify that you have made or will make all payments on any previous loans with Lender, and
you agree that Lender may cancel this loan if any payment on your previous loans is not made or is returned
unpaid. You agree that we may obtain information about you and your Bank Account from your Bank and/or consumer
reporting agencies until all amounts owing pursuant to this Agreement are paid in full. If there is any missing or erroneous
information in or with your loan application regarding your bank, bank routing number, or account number, then you
authorize us to verify and correct such information.


Please review and select one of these funding options:
i ELECTRONIC (as soon as the next business day): By checking here you authorize us to effect ACH debit and credit
j
k
l
m
n
entries for this Loan and you agree to the ACH Authorization set forth in this Agreement. You acknowledge and agree that
the ACH Authorization inures to the benefit of Plain Green, LLC, its affiliates, agents, representatives, employees,
successors, and registered assigns. You agree that the ACH Authorization is subject to our approving this Agreement. If you
agree to the ACH Authorization in this Agreement and authorize debit and credit entries for this Loan, you also agree that
the ACH Authorization set forth in this Agreement is to remain in full force and effect for this Loan until your indebtedness to
us for the unpaid principal balance of this Loan, plus accrued interest (including interest owing on past due amounts) and
fees, is fully satisfied. If you revoke your ACH Authorization, you agree to provide us with another means of payment
acceptable to us in our sole discretion. Check this box if you agree to the ACH Authorization in this Agreement.


j POSTAL MAIL (up to 7 to 10 days): By checking here, you request Loan proceeds be distributed to you by check and
k
l
m
n
delivered by regular mail through the United States Postal System. If you elect to receive your proceeds by mail, you must
also make your payments via money order or certified check by mail as explained in the "Payments" section above. You
should allow 7 to 10 days for delivery of the Loan proceeds, and you acknowledge that your Loan proceeds check may not
be mailed to you until your "Right of Rescission" (as described above) has expired. You acknowledge that interest begins
accruing on the Effective Date set forth at the top of this Agreement. If you have elected to receive your Loan proceeds by
check, the ACH Authorization set forth above does not apply to the funding or repayment of your Loan.

                                                                                                              000007
       Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 32 of 60 PageID# 341

Plain Green, LLC
                                             Date:
                                             5/28/2013

By: Billi Anne Raining Bird-Morsette, CEO
Your Full Name:                 Type 'I Agree':      Date:
Lawrence Mwethuku               I Agree              5/28/2013




                                                                             000008
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 33 of 60 PageID# 342




                      EXHIBIT K
               Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 34 of 60 PageID# 343


   THIS AGREEMENT SHALL NOT CONSTITUTE A "NEGOTIABLE INSTRUMENT"




   CONSUMER LOAN AGREEMENT
   Loan Number: 67338053
   Plain Green, LLC
   93 Mack Road, Suite 600
   PO Box 270
   Box Elder, MT 59521

   Borrower's Information:

    Lender: Plain Green, LLC                                 Borrower's Name:
                                                             Lawrence Mwethuku
    Origination Date: 3/28/2013                              Borrower's ID:
    This is the date you signed and submitted this loan
    agreement to the lender.
    Effective Date: 3/29/2013                                Borrower's Address:
    The date you begin to pay interest on the loan.

    Final Payment Due Date:                                  Borrower's Bank and Account Number for ACH Transfers
    9/16/2014                                                (the "Bank Account"):

   This Loan Agreement (the "Agreement") is subject solely to the exclusive laws and jurisdiction of the
   Chippewa Cree Tribe of the Rocky Boy's Indian Reservation, Montana ("Chippewa Cree"). In this Agreement,
   "you" and "your" refer to the Borrower identified above. "We", "us", "our", and Lender refer to Plain Green, LLC, a
   lender authorized by the laws of the Chippewa Cree. "Loan" means this consumer installment loan. By executing this
   Agreement, you hereby acknowledge and consent to be bound to the terms of this Agreement, consent to the sole
   subject matter and personal jurisdiction of the Chippewa Cree Tribal Court, and further agree that no other state or
   federal law or regulation shall apply to this Agreement, its enforcement or interpretation.

   TRUTH IN LENDING DISCLOSURES: The disclosures below are provided to you so that you may compare the cost
   of this loan to other loan products you might obtain in the United States. Our inclusion of these disclosures does not
   mean that we or any subsequent holder of this Agreement consent to application of state or federal law to us, to the
   Loan, or this Agreement.




          ANNUAL          FINANCE CHARGE             Amount Financed                Total of Payments
       PERCENTAGE          The dollar amount        The amount of credit   The amount you will have paid after you
            RATE           the credit will cost provided to you or on your have made all payments as scheduled.
       The cost of your            you.                   behalf.                       $5,482.93
       credit as a yearly       $3,882.93                $1,600.00
              rate.
                                               Ex. K
                                               PG - Motion to Dismiss                            000001
LoanAgreement-67338053-20130328.Html[8/3/2017 10:09:00 AM]
               Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 35 of 60 PageID# 344
                                                 Truth-In-Lending Disclosures


          ANNUAL            FINANCE CHARGE             Amount Financed                    Total of Payments
       PERCENTAGE             The dollar amount       The amount of credit      The amount you will have paid after you
            RATE              the credit will cost provided to you or on your have made all payments as scheduled.
       The cost of your               you.                   behalf.                          $5,482.93
       credit as a yearly          $3,882.93               $1,600.00
              rate.
           218.29%
     Your payment schedule (the "Payment Schedule") will be:
      Number of Payments Amount of Payments When Payments Are Due (each, a "Payment Due Date")
                                                                    4/16/2013, 4/30/2013,
                                                                    5/14/2013, 5/28/2013,
                                                                    6/11/2013, 6/25/2013,
                                                                     7/9/2013, 7/23/2013,
                                                                     8/6/2013, 8/20/2013,
                                                                     9/3/2013, 9/17/2013,
                                                                   10/1/2013, 10/15/2013,
                                                                  10/29/2013, 11/12/2013,
                                                                  11/26/2013, 12/10/2013,
                37                   $144.30                        12/24/2013, 1/7/2014,
                                                                     1/21/2014, 2/4/2014,
                                                                     2/18/2014, 3/4/2014,
                                                                     3/18/2014, 4/1/2014,
                                                                    4/15/2014, 4/29/2014,
                                                                    5/13/2014, 5/27/2014,
                                                                    6/10/2014, 6/24/2014,
                                                                     7/8/2014, 7/22/2014,
                                                                     8/5/2014, 8/19/2014,
                                                                           9/2/2014
                 1                   $143.83                              9/16/2014
     PREPAYMENT: If you pay off the Loan early, you will not have to pay a penalty, and you may be entitled to a
     refund of part of the finance charge.

     SECURITY INTEREST: If you have chosen the ACH Debit Authorization option, your ACH authorization is
     security for this loan.

     See the Loan Agreement for any additional information about nonpayment, default, any required repayment in full
     before the scheduled date and prepayment penalties.
    Itemization of Amount Financed:                                                                            $1,600.00
      Amount given to you directly:                                                                            $1,600.00
   PROMISE TO PAY: You promise to pay to the order of Lender or any registered assignee of this Agreement the
   principal sum of $1,600.00 plus interest from the date of this Loan at the rate of 219.9855% per year until this Loan is
   repaid in full. You promise to pay these amounts on the dates listed in the Payment Schedule above. You also promise
   to pay to us or to any subsequent holder of this Agreement any other fees provided for under this Agreement.

   PAYMENTS: You promise to pay the amount of the Total of Payments shown above on or before the Payment Due
   Date. If you have chosen the ACH Debit Authorization option, you must make arrangements with us by 5:00 PM
   Eastern Time, on the business day prior to the Payment Due Date, so an authorized ACH entry is not initiated. If you
                                                                                                        000002
LoanAgreement-67338053-20130328.Html[8/3/2017 10:09:00 AM]
              Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 36 of 60 PageID# 345
   choose to mail a payment, (i) all payments shall be mailed to PO Box 270, Box Elder, MT 59521, (ii) payment must
   reach this address by the Payment Due Date, and (iii) you should notify us prior to 5:00 PM Eastern Time the business
   day prior to Payment Due Date so an authorized ACH entry is not initiated prior to receipt of the payment. In addition,
   you agree that we cannot make and have not made the Loan contingent upon your obtaining any other product or
   service from us or anyone else. If you have chosen to receive your loan proceeds via check please mail your payments
   by the dates indicated within "When Payments Are Due" section of this Agreement to 93 Mack Road, Suite 600, PO
   Box 270, Box Elder, MT 59521.

   CALCULATION OF INTEREST AND PAYMENTS: The interest charged hereunder is calculated using the
   simple interest method and has been computed upon the basis that you will pay all installments on the scheduled
   Payment Dates. Interest shall not be payable in advance or compounded.

   WHEN YOU BEGIN PAYING INTEREST: You begin to pay us interest on the Loan on the date the proceeds of
   the Loan are deposited into your Bank Account, or, if you elect to receive Loan proceeds by check through the mail,
   the date we issue the check (the "Effective Date"). You will be charged interest on the unpaid amount of the Loan
   each day from the Effective Date until the Loan is paid in full. In calculating your payments, we have assumed you
   will make each payment on the day and in the amount due. If any payment is received after the payment due date, you
   must pay any additional interest that accrues after such date. If any payment is made before the payment due date, the
   interest due will be reduced. The amount of this decrease or increase in interest due will be reflected in the final
   payment that is due. Time is of the essence, which means that there are no grace periods for when payments must be
   made. If any payment is due on a day on which your bank is not open, then such payment shall be due on the next day
   upon which your bank is open.

   VERIFICATION: You authorize us to verify the information you provided to us in connection with your Loan
   application. You give us consent to obtain information about you from a consumer reporting agency or other sources.
   We reserve the right to withhold funding of this Loan, at any time prior to disbursement, to allow us to verify the
   information you have provided to us.

   ACH AUTHORIZATION TO CREDIT BANK ACCOUNT: Unless the proceeds of this Agreement are applied to
   any outstanding loan balance that you may owe to us, and you do not elect to receive the Loan proceeds by check
   through regular mail, you authorize us and our agents to initiate an Automated Clearing House ("ACH") credit entry
   to your Bank Account to disburse the proceeds of this Loan.

   ACH AUTHORIZATION TO DEBIT BANK ACCOUNT: Unless you chose to mail to us a check or money order
   as payment for this Loan, you authorize us, and our agents, successors, employees, and registered assigns to withdraw
   money from your Bank Account for each payment you owe us, including any returned payment charges and the total
   amount you owe if you do not pay us when you agreed in this Agreement. You agree we can withdraw money from
   your Bank Account (called an 'ACH debit entry') on each scheduled payment date shown on the Payment Schedule
   above. This right to withdraw money from your Bank Account will remain in full force until the earlier of the
   following occurs: (i) you pay us everything that you owe us under this Agreement or (ii) you tell us or the institution
   holding your Bank Account (the "Paying Bank") that we can no longer withdraw money from your Bank Account in
   enough time to let the Paying Bank or us stop taking the money out of your Bank Account. You acknowledge and
   agree that this ACH Authorization to Debit Bank Account inures to the benefit of Plain Green, LLC, its affiliates,
   agents, employees, successors, and registered assigns.

   NOTICE OF VARYING AMOUNTS: For those customers who have chosen the ACH Debit Authorization, please
   note that you have the right to receive notice of all withdrawals from your Bank Account by an ACH Debit that vary
   in amount. However, by agreeing to let us withdraw the money from your Bank Account, you agree we only have to
   tell you the range of withdrawals that we can make. The range of withdrawals will be either an amount equal to your
   installment payment or an amount equal to the outstanding balance under the Loan (which may be greater than or less
   than an installment payment based upon your payment history), plus a returned payment fee as specified below. For
   any withdrawal outside of this specified range, we will send you a notice. Therefore, by signing this Agreement
   below, you are choosing to only receive notice when a withdrawal exceeds the amount in the specified range. You
   authorize us to vary the amount of the amount of any withdrawal as needed to repay installments due on the Loan as
                                                                                                        000003
LoanAgreement-67338053-20130328.Html[8/3/2017 10:09:00 AM]
            Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 37 of 60 PageID# 346
   modified by any partial prepayments you make.

   TERMINATING ACH DEBIT AUTHORIZATION: For those customers who have chosen the ACH Debit
   Authorization, the ACH debit authorization will remain in full force and effect until the earlier of the following
   occurs: (i) you satisfy all of your payment obligations under this Agreement or (ii) you tell us or the Paying Bank that
   we can no longer withdraw money from your Bank Account in enough time to let the Paying Bank or us stop taking
   the money out of your Bank Account. Terminating your ACH authorization does not relieve you of your obligation to
   pay your Loan in full.

   REMOTELY CREATED CHECK AUTHORIZATION: If you terminate any previous ACH Debit Authorization
   you provided to us or we do not receive a payment by the Payment Due Date, you authorize us and our agents,
   successors and assigns to create and submit remotely created checks for payment to us in the amount of each payment
   owing under this Agreement, including any returned payment charges or other amounts owing to us upon acceleration
   of this Loan as a result of your Default. Your typed signature below shall constitute your authorization to us to
   authenticate remotely created checks, which are also known as demand drafts, telechecks, preauthorized drafts, or
   paper drafts. If you believe we charged your Bank Account in a manner not contemplated by this authorization, then
   please contact us. You authorize us to vary the amount of any preauthorized payment by remotely created check as
   needed to repay installments and any other payments due under this Agreement.

   PAYMENT BY CHECK OR MONEY ORDER: You may pay each payment owing under this Agreement by
   check or money order.

   CHECK CONVERSION NOTIFICATION: When you provide a check as payment, you agree we can either use
   information from your check to make a one-time electronic withdrawal from your Bank Account or to process the
   payment as a check transaction. When we use information from your check to make a withdrawal from your Bank
   Account, funds may be withdrawn from your Bank Account as soon as the same day we receive your payment and
   you will not receive your check back from your financial institution. For questions, please call our customer service
   phone number: (866) 420-7157.

   PAYMENT APPLICATION: Lender will apply your payments in the following order: (1) to any fees due, (2) to
   earned but unpaid interest, and (3) to principal amounts outstanding.

   SECURITY INTEREST DISCLOSURE: To the extent that your agreement to have us withdraw money from your
   Bank Account is deemed a security interest under the law of the Chippewa Cree Tribe, you hereby grant to us a
   security interest in such withdrawal authorization using the ACH system.

   PREPAYMENT: You may prepay all or part of the amount you owe us at any time without penalty. If you do so,
   you must pay the interest accrued on your Loan and all other amounts due up to the date of your payment.

   REFINANCE POLICY: We, in our sole discretion, will determine whether your Loan may be refinanced.

   RETURNED PAYMENT FEE: If any payment made by you on this Loan is not honored or cannot be processed for
   any reason, including not enough money in your Bank Account, you agree to pay us a fee of $30.00. You authorize us
   and our agents to make a one-time withdrawal from your Bank Account to collect this fee, if you have also selected
   the ACH Debit Authorization. Your financial institution may also impose a fee.

   DEFAULT: You will have broken your promise you made to us in this Agreement (each a "Default") if: (a) you
   provide false or misleading information about yourself, your employment, or your financial condition prior to entering
   into this Agreement, (b) if you fail to make a payment by the due date or if your payment is returned to us for any
   reason, or (c) if you file bankruptcy or become a debtor under the Federal Bankruptcy Laws.

   CONSEQUENCES OF DEFAULT: Should you not do the things you agreed to under this Agreement, we may, at
   our option, do any one or more of the following things: (a) require you to immediately pay us everything you owe us;
   (b) withdraw money from your Bank Account that was not available when we tried to withdraw it at an earlier time, if
                                                                                                      000004
LoanAgreement-67338053-20130328.Html[8/3/2017 10:09:00 AM]
              Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 38 of 60 PageID# 347
   you have selected the ACH Debit Authorization; and (c) pursue all legally available means to collect what you owe
   us. In the event we declare all amounts owed under this Agreement immediately due because you did not pay us, then
   you further authorize us and our agents to withdraw money from your Bank Account in the full amount due under this
   Agreement, if you have selected the ACH Debit Authorization. By choosing any one of more of these, we do not give
   up our right to use another way to collect the money you owe us later. We may decide not to use any of the ways
   described above to get back the money that you owe us. If so, we do not give up our right to consider what you said
   you would do to make payment(s) and, if you fail to make those payment(s), we will consider you to be in Default.

   CREDIT REPORTING: We may report information about your Loan to credit bureaus. Late payments, missed
   payments, or other things you do may be reflected on your credit report.

   RIGHT TO CANCEL: YOU MAY CANCEL THIS LOAN, WITHOUT COST TO YOU OR FURTHER
   OBLIGATION TO US, BY TELEPHONING TOLL-FREE 866-420-7157 BY 5:30 P.M. EASTERN TIME ON THE
   FIRST BANKING DAY AFTER THE EFFECTIVE DATE. YOU CAN CANCEL ONLY IF YOU SEND US BACK
   THE MONEY FROM THE LOAN WE PUT IN YOUR BANK ACCOUNT, RETURN THE LOAN PROCEEDS
   CHECK MAILED TO YOU OR WE ARE ABLE TO WITHDRAW THE AMOUNT OF YOUR LOAN FROM
   YOUR BANK ACCOUNT.

   BORROWER'S BANK CHARGES: You will not hold us or our agents responsible for any fees you must pay as a
   result of any check or withdrawal request being presented at your bank in connection with this Agreement.

   TRANSFER OF RIGHTS AND MAINTENANCE OF REGISTER: We may assign or transfer this Agreement, or
   any of our rights hereunder, to another person or entity without notice or consent from you. Regardless of any transfer,
   this Agreement shall remain exclusively subject to the laws and courts of the Chippewa-Cree Tribe. Plain Green,
   LLC, (the "Registrar") acting solely for this purpose as your irrevocably appointed agent, shall maintain at an office
   located in the United States a copy of each assignment of this Agreement delivered to it and a register (the "Register")
   for the recordation of the names and addresses of the original owner and assignees, and the amounts of principal and
   interest owing to each from time to time pursuant to the terms of this Loan. The Register may be in electronic form.
   The entries of the Register shall be conclusive, and you, the Registrar, the Lender and all of its assignees shall treat
   each person whose name is recorded in the Register pursuant to these terms as the owner of such principal and interest
   payments for all purposes of this Agreement, notwithstanding notice to the contrary. The name of the owner in the
   Register shall be available to you by written request to the Registrar at any reasonable time and from time to time
   upon reasonable prior notice. In addition to the foregoing, the Registrar shall include on the Register the names and
   addresses of those persons holding participation interests in the Loan of which it has notice. Any fees and expenses of
   the Registrar for its services shall be charged to the registered owner of the loan and not to you.

   WAIVER OF JURY TRIAL AND ARBITRATION.

   RIGHT TO OPT OUT. IF YOU DO NOT WISH YOUR ACCOUNT TO BE SUBJECT TO THIS AGREEMENT
   TO ARBITRATE, YOU MUST ADVISE US IN WRITING AT 93 MACK ROAD, SUITE 600, PO BOX 270, BOX
   ELDER, MT 59521 OR VIA E-MAIL AT SUPPORT@PLAINGREENLOANS.COM. YOU MUST CLEARLY
   PRINT OR TYPE YOUR NAME AND ACCOUNT NUMBER OR SOCIAL SECURITY NUMBER AND STATE
   THAT YOU REJECT ARBITRATION. YOU MUST GIVE WRITTEN NOTICE; IT IS NOT SUFFICIENT TO
   TELEPHONE US. WE MUST RECEIVE YOUR LETTER OR E-MAIL WITHIN SIXTY (60) DAYS AFTER THE
   DATE YOUR LOAN FUNDS OR YOUR REJECTION OF ARBITRATION WILL NOT BE EFFECTIVE. IN THE
   EVENT YOU OPT OUT OF THIS AGREEMENT TO ARBITRATE, ANY DISPUTES HEREUNDER SHALL
   NONETHELESS BE GOVERNED UNDER THE LAWS OF THE CHIPPEWA CREE TRIBE AND MUST BE
   BROUGHT WITHIN THE COURT SYSTEM THEREOF.

   PLEASE READ THIS PROVISION OF THE AGREEMENT CAREFULLY. Unless you exercise your right to
   opt-out of arbitration in the manner described above, any dispute you have with Lender or anyone else under this
   Agreement will be resolved by binding arbitration. Arbitration replaces the right to go to court, including the right to
   have a jury, to engage in discovery (except as may be provided in the arbitration rules), and to participate in a class
   action or similar proceeding. In arbitration, a dispute is resolved by an arbitrator instead of a judge or jury. Arbitration
                                                                                                            000005
LoanAgreement-67338053-20130328.Html[8/3/2017 10:09:00 AM]
             Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 39 of 60 PageID# 348
   procedures are simpler and more limited than court procedures. Any arbitration will be limited to addressing your
   dispute individually and will not be part of a class-wide or consolidated arbitration proceeding.

   Agreement to Arbitrate. You agree that any Dispute (defined below) will be resolved by arbitration in accordance
   with Chippewa Cree tribal law.

   Arbitration Defined. Arbitration is a means of having an independent third party resolve a Dispute. A "Dispute" is
   any controversy or claim between you and Lender, its marketing agent, collection agent, any subsequent holder of this
   Note, or any of their respective agents, affiliates, assigns, employees, officers, managers, members or shareholders
   (each considered a "Holder" for purposes of this Agreement). The term Dispute is to be given its broadest possible
   meaning and includes, without limitation, all claims or demands (whether past, present, or future, including events
   that occurred prior to the opening of this Account), based on any legal or equitable theory (tort, contract, or
   otherwise), and regardless of the type of relief sought (i.e. money, injunctive relief, or declaratory relief). A Dispute
   includes, by way of example and without limitation, any claim arising from, related to or based upon marketing or
   solicitations to obtain the loan and the handling or servicing of your account whether such Dispute is based on a tribal,
   federal or state constitution, statute, ordinance, regulation, or common law, and including any issue concerning the
   validity, enforceability, or scope of this loan or the Agreement to Arbitrate.

   You acknowledge and agree that by entering into this Arbitration Provision:

   (a) YOU ARE GIVING UP YOUR RIGHT TO HAVE A TRIAL BY JURY TO RESOLVE ANY DISPUTE
   ALLEGED AGAINST US OR RELATED THIRD PARTIES;

   (b) YOU ARE GIVING UP YOUR RIGHT TO HAVE A COURT RESOLVE ANY DISPUTE ALLEGED
   AGAINST US OR RELATED THIRD PARTIES; and

   (c) YOU ARE GIVING UP YOUR RIGHT TO SERVE AS A REPRESENTATIVE, AS A PRIVATE
   ATTORNEY GENERAL, OR IN ANY OTHER REPRESENTATIVE CAPACITY, AND/OR TO
   PARTICIPATE AS A MEMBER OF A CLASS OF CLAIMANTS, IN ANY LAWSUIT FILED AGAINST US
   AND/OR RELATED THIRD PARTIES.

   Choice of Arbitrator. Any party to a Dispute, including a Holder or its related third parties, may send the other party
   written notice by certified mail return receipt requested at the address appearing at the top of this Agreement of their
   intent to arbitrate and setting forth the subject of the dispute along with the relief requested, even if a lawsuit has been
   filed. Regardless of who demands arbitration, you shall have the right to select any of the following arbitration
   organizations to administer the arbitration: the American Arbitration Association (1-800-778-7879)
   http://www.adr.org; JAMS (1-800-352-5267) http://www.jamsadr.com; or an arbitration organization agreed upon by
   you and the other parties to the Dispute. The arbitration will be governed by the chosen arbitration organization's rules
   and procedures applicable to consumer disputes, to the extent that those rules and procedures do not contradict either
   the law of the Chippewa Cree Tribe or the express terms of this Agreement to Arbitrate, including the limitations on
   the Arbitrator below. The party receiving notice of Arbitration will respond in writing by certified mail return receipt
   requested within twenty (20) days. You understand that if you demand Arbitration, you must inform us of your
   demand and of the arbitration organization you have selected. You also understand that if you fail to notify us, then
   we have the right to select the arbitration organization. Any arbitration under this Agreement may be conducted either
   on tribal land or within thirty miles of your residence, at your choice, provided that this accommodation for you shall
   not be construed in any way (a) as a relinquishment or waiver of the Chippewa Cree's Tribes sovereign status or
   immunity, or (b) to allow for the application of any law other than the law of the Chippewa Cree Tribe.

   Cost of Arbitration. We will pay the filing fee and any costs or fees charged by the arbitrator regardless of which
   party initiates the arbitration. Except where otherwise provided by the law of the Chippewa Cree Tribe, each party
   will be responsible for its own attorneys' fees and other expenses. Unless prohibited by law, the arbitrator may award
   fees, costs, and reasonable attorneys' fees to the party who substantially prevails in the arbitration.

   Waiver of Jury Trial and Waiver of Ability to Participate in a Class Action. YOU HEREBY AGREE THAT
                                                                                            000006
LoanAgreement-67338053-20130328.Html[8/3/2017 10:09:00 AM]
              Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 40 of 60 PageID# 349
   YOU ARE WAIVING YOUR RIGHT TO A JURY TRIAL, TO HAVE A COURT DECIDE YOUR DISPUTE,
   AND YOU ARE WAIVING YOUR ABILITY TO SERVE AS A REPRESENTATIVE, AS A PRIVATE
   ATTORNEY GENERAL, TO PARTICIPATE IN A CLASS ACTION LAWSUIT, OR IN ANY OTHER
   REPRESENTATIVE CAPACITY FOR OTHERS IN THE ARBITRATION, AND TO CERTAIN DISCOVERY
   AND OTHER PROCEDURES THAT WOULD BE AVAILABLE IN A LAWSUIT. The arbitrator has the ability to
   award all remedies available under the Chippewa Cree Tribe's tribal law, whether at law or in equity, to the prevailing
   party, except that the parties agree that the arbitrator has no authority to conduct class-wide proceedings and will be
   restricted to resolving the individual Disputes between the parties. The validity, effect, and enforceability of this
   waiver of class action lawsuit and class-wide arbitration is to be determined solely by a court of competent jurisdiction
   located within the Chippewa Cree Tribe, and not by the arbitrator. If the court refuses to enforce the class-wide
   arbitration waiver, or if the arbitrator fails or refuses to enforce the waiver of class-wide arbitration, the parties agree
   that the Dispute will proceed in tribal court and will be decided by a tribal court judge, sitting without a jury, under
   applicable court rules and procedures and may be enforced by such court through any measures or reciprocity
   provisions available.

   Applicable Law and Judicial Review. THIS AGREEMENT TO ARBITRATE IS MADE PURSUANT TO A
   TRANSACTION INVOLVING THE INDIAN COMMERCE CLAUSE OF THE CONSTITUTION OF THE
   UNITED STATES OF AMERICA, AND SHALL BE GOVERNED BY THE LAW OF THE CHIPPEWA CREE
   TRIBE. The arbitrator will apply the laws of the Chippewa Cree Tribe and the terms of this Agreement, including the
   Agreement to Arbitrate. The arbitrator must apply the terms of this Agreement to Arbitrate, including without
   limitation the waiver of class-wide arbitration. The arbitrator may decide, with or without a hearing, any motion that is
   substantially similar to a motion to dismiss for failure to state a claim or a motion for summary judgment. If allowed
   by statute or applicable law, the arbitrator may award statutory damages and/or reasonable attorneys' fees and
   expenses. The arbitrator will make written findings and the arbitrator's award may be filed with the tribal court. The
   arbitration award will be supported by substantial evidence and must be consistent with this Agreement and applicable
   law or may be set aside by the tribal court upon judicial review.

   Other Provisions. This Agreement to Arbitrate will survive: (i) termination or changes in this Agreement, the
   Account, or the relationship between us concerning the Account; (ii) the bankruptcy of any party; and (iii) any
   transfer, sale or assignment of my Note, or any amounts owed on my account, to any other person or entity. This
   Agreement to Arbitrate benefits and is binding upon you, your respective heirs, successors and assigns. It also benefits
   and is binding upon us, our successors and assigns, and related third parties. The Agreement to Arbitrate continues in
   full force and effect, even if your obligations have been paid or discharged through bankruptcy. The Agreement to
   Arbitrate survives any termination, amendment, expiration, or performance of any transaction between you and us and
   continues in full force and effect unless you and we otherwise agree in writing. If any of this Agreement to Arbitrate is
   held invalid, the remainder shall remain in effect.

   GOVERNING LAW. This Agreement and the Agreement to Arbitrate are governed by the Indian Commerce Clause
   of the Constitution of the United States of America and the laws of the Chippewa Cree Tribe. We do not have a
   presence in Montana or any other state of the United States of America. Neither this Agreement nor the Lender is
   subject to the laws of any state of the United States.

   TELEPHONE CALLS. You hereby agree that in the event we need to contact you to discuss your account or the
   repayment of your Loan, we may call you at any number, including any cell phone number you have provided, and
   that we may leave an autodialed or prerecorded message or use other technology (including, but not limited to, SMS
   messaging or other text messaging) to contact or to communicate with you.

   VERIFICATION. You authorize us to verify all of the information you have provided in obtaining approval of this
   Loan.

   This Agreement includes a Waiver of Jury Trial and Arbitration Provision that may be enforced by you and
   us. By signing this Agreement you agree that it was filled in before you did so and that you have received a completed
   copy of it. You further agree that you have read and understand all of the terms of this Agreement, including
   the part entitled "Waiver of Jury Trial and Arbitration Provision."
                                                                                                        000007
LoanAgreement-67338053-20130328.Html[8/3/2017 10:09:00 AM]
               Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 41 of 60 PageID# 350

   By electronically signing this Agreement you certify that the information given in connection with this Agreement is
   true and correct. You authorize us to verify the information given in connection with this Agreement, and you give us
   consent to obtain information about you from a consumer reporting agency or other sources. You acknowledge,
   represent and warrant that (a) you have read, understand, and agree to all of the terms and conditions of this
   Agreement, including the Disclosures and the Arbitration Agreement and Waiver of Jury Trial, (b) this Agreement
   contains all of the terms of the agreement between you and us and that no representations or promises other than
   those contained in this Agreement have been made, (c) you specifically authorize withdrawals and deposits to and
   from your Bank Account as described in this Agreement, if you have selected the ACH Debit Authorization, (d) you
   are not a debtor under any proceeding in Bankruptcy and have no intention to file a petition for relief under any
   chapter of the United States Bankruptcy Code, (e) this Agreement was filled in before you signed it, and (f) you
   have the ability to print or retain a completed copy of this Agreement. You further acknowledge that we may
   withhold funding of your Loan until we check to make sure all the information you gave us on your application is
   true and we decide whether you meet our requirements to receive the Loan.


     ✔
      I understand, acknowledge and agree that Plain Green, LLC is a tribal lending entity wholly owned by
   Chippewa Cree Tribe of the Rocky Boy's Indian Reservation, Montana, a federally recognized tribe. I further
   understand, acknowledge and agree that this loan is governed by the laws of the Chippewa Cree Tribe and is
   not subject to the provisions or protections of the laws of my home state or any other state.


     ✔
       By checking here you authorize us to verify all of the information that you have provided, including past and/or
   current information. You certify that you have made or will make all payments on any previous loans with
   Lender, and you agree that Lender may cancel this loan if any payment on your previous loans is not made or
   is returned unpaid. You agree that we may obtain information about you and your Bank Account from your Bank
   and/or consumer reporting agencies until all amounts owing pursuant to this Agreement are paid in full. If there is any
   missing or erroneous information in or with your loan application regarding your bank, bank routing number, or
   account number, then you authorize us to verify and correct such information.


    Please review and select one of these funding options:
        ELECTRONIC (as soon as the next business day): By checking here you authorize us to effect ACH debit and
    credit entries for this Loan and you agree to the ACH Authorization set forth in this Agreement. You acknowledge
    and agree that the ACH Authorization inures to the benefit of Plain Green, LLC, its affiliates, agents, representatives,
    employees, successors, and registered assigns. You agree that the ACH Authorization is subject to our approving this
    Agreement. If you agree to the ACH Authorization in this Agreement and authorize debit and credit entries for this
    Loan, you also agree that the ACH Authorization set forth in this Agreement is to remain in full force and effect for
    this Loan until your indebtedness to us for the unpaid principal balance of this Loan, plus accrued interest (including
    interest owing on past due amounts) and fees, is fully satisfied. If you revoke your ACH Authorization, you agree to
    provide us with another means of payment acceptable to us in our sole discretion. Check this box if you agree to the
    ACH Authorization in this Agreement.

       POSTAL MAIL (up to 7 to 10 days): By checking here, you request Loan proceeds be distributed to you by
    check and delivered by regular mail through the United States Postal System. If you elect to receive your proceeds by
    mail, you must also make your payments via money order or certified check by mail as explained in the "Payments"
    section above. You should allow 7 to 10 days for delivery of the Loan proceeds, and you acknowledge that your
    Loan proceeds check may not be mailed to you until your "Right of Rescission" (as described above) has expired.
    You acknowledge that interest begins accruing on the Effective Date set forth at the top of this Agreement. If you
    have elected to receive your Loan proceeds by check, the ACH Authorization set forth above does not apply to the
    funding or repayment of your Loan.


                                                                                                         000008
LoanAgreement-67338053-20130328.Html[8/3/2017 10:09:00 AM]
              Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 42 of 60 PageID# 351
    Plain Green, LLC
                                                  Date:
                                                  3/28/2013
    By: Billi Anne Raining Bird-Morsette, CEO
    Your Full Name:               Type 'I Agree':         Date:
    Lawrence Mwethuku             I agree                 3/28/2013




                                                                                   000009
LoanAgreement-67338053-20130328.Html[8/3/2017 10:09:00 AM]
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 43 of 60 PageID# 352




                       EXHIBIT L
               Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 44 of 60 PageID# 353


   THIS AGREEMENT SHALL NOT CONSTITUTE A "NEGOTIABLE INSTRUMENT"




   CONSUMER LOAN AGREEMENT
   Loan Number: 66772558
   Plain Green, LLC
   93 Mack Road, Suite 600
   PO Box 270
   Box Elder, MT 59521

   Borrower's Information:

    Lender: Plain Green, LLC                                 Borrower's Name:
                                                             Lawrence Mwethuku
    Origination Date: 1/28/2013                              Borrower's ID:
    This is the date you signed and submitted this loan
    agreement to the lender.
    Effective Date: 1/29/2013                                Borrower's Address:
    The date you begin to pay interest on the loan.

    Final Payment Due Date:                                  Borrower's Bank and Account Number for ACH Transfers
    12/24/2013                                               (the "Bank Account"):

   This Loan Agreement (the "Agreement") is subject solely to the exclusive laws and jurisdiction of the
   Chippewa Cree Tribe of the Rocky Boy's Indian Reservation, Montana ("Chippewa Cree"). In this Agreement,
   "you" and "your" refer to the Borrower identified above. "We", "us", "our", and Lender refer to Plain Green, LLC, a
   lender authorized by the laws of the Chippewa Cree. "Loan" means this consumer installment loan. By executing this
   Agreement, you hereby acknowledge and consent to be bound to the terms of this Agreement, consent to the sole
   subject matter and personal jurisdiction of the Chippewa Cree Tribal Court, and further agree that no other state or
   federal law or regulation shall apply to this Agreement, its enforcement or interpretation.

   TRUTH IN LENDING DISCLOSURES: The disclosures below are provided to you so that you may compare the cost
   of this loan to other loan products you might obtain in the United States. Our inclusion of these disclosures does not
   mean that we or any subsequent holder of this Agreement consent to application of state or federal law to us, to the
   Loan, or this Agreement.




          ANNUAL          FINANCE CHARGE             Amount Financed                Total of Payments
       PERCENTAGE          The dollar amount        The amount of credit   The amount you will have paid after you
            RATE           the credit will cost provided to you or on your have made all payments as scheduled.
       The cost of your            you.                   behalf.                       $2,826.48
       credit as a yearly       $1,826.48                $1,000.00
              rate.
                                               Ex. L
                                               PG - Motion to Dismiss                            000001
LoanAgreement-66772558-20130128.Html[8/3/2017 10:07:49 AM]
               Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 45 of 60 PageID# 354
                                                 Truth-In-Lending Disclosures


          ANNUAL            FINANCE CHARGE             Amount Financed                    Total of Payments
       PERCENTAGE             The dollar amount       The amount of credit      The amount you will have paid after you
            RATE              the credit will cost provided to you or on your have made all payments as scheduled.
       The cost of your               you.                   behalf.                          $2,826.48
       credit as a yearly          $1,826.48               $1,000.00
              rate.
           299.17%
     Your payment schedule (the "Payment Schedule") will be:
      Number of Payments Amount of Payments When Payments Are Due (each, a "Payment Due Date")
                                                                     2/5/2013, 2/19/2013,
                                                                     3/5/2013, 3/19/2013,
                                                                     4/2/2013, 4/16/2013,
                                                                    4/30/2013, 5/14/2013,
                                                                    5/28/2013, 6/11/2013,
                                                                     6/25/2013, 7/9/2013,
                23                   $117.75
                                                                     7/23/2013, 8/6/2013,
                                                                     8/20/2013, 9/3/2013,
                                                                    9/17/2013, 10/1/2013,
                                                                  10/15/2013, 10/29/2013,
                                                                  11/12/2013, 11/26/2013,
                                                                          12/10/2013
                 1                   $118.23                              12/24/2013
     PREPAYMENT: If you pay off the Loan early, you will not have to pay a penalty, and you may be entitled to a
     refund of part of the finance charge.

     SECURITY INTEREST: If you have chosen the ACH Debit Authorization option, your ACH authorization is
     security for this loan.

     See the Loan Agreement for any additional information about nonpayment, default, any required repayment in full
     before the scheduled date and prepayment penalties.
    Itemization of Amount Financed:                                                                            $1,000.00
      Amount given to you directly:                                                                            $1,000.00
   PROMISE TO PAY: You promise to pay to the order of Lender or any registered assignee of this Agreement the
   principal sum of $1,000.00 plus interest from the date of this Loan at the rate of 299.9935% per year until this Loan is
   repaid in full. You promise to pay these amounts on the dates listed in the Payment Schedule above. You also promise
   to pay to us or to any subsequent holder of this Agreement any other fees provided for under this Agreement.

   PAYMENTS: You promise to pay the amount of the Total of Payments shown above on or before the Payment Due
   Date. If you have chosen the ACH Debit Authorization option, you must make arrangements with us by 5:00 PM
   Eastern Time, on the business day prior to the Payment Due Date, so an authorized ACH entry is not initiated. If you
   choose to mail a payment, (i) all payments shall be mailed to PO Box 270, Box Elder, MT 59521, (ii) payment must
   reach this address by the Payment Due Date, and (iii) you should notify us prior to 5:00 PM Eastern Time the business
   day prior to Payment Due Date so an authorized ACH entry is not initiated prior to receipt of the payment. In addition,
   you agree that we cannot make and have not made the Loan contingent upon your obtaining any other product or
   service from us or anyone else. If you have chosen to receive your loan proceeds via check please mail your payments
   by the dates indicated within "When Payments Are Due" section of this Agreement to 93 Mack Road, Suite 600, PO
   Box 270, Box Elder, MT 59521.
                                                                                                        000002
LoanAgreement-66772558-20130128.Html[8/3/2017 10:07:49 AM]
               Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 46 of 60 PageID# 355
   CALCULATION OF INTEREST AND PAYMENTS: The interest charged hereunder is calculated using the
   simple interest method and has been computed upon the basis that you will pay all installments on the scheduled
   Payment Dates. Interest shall not be payable in advance or compounded.

   WHEN YOU BEGIN PAYING INTEREST: You begin to pay us interest on the Loan on the date the proceeds of
   the Loan are deposited into your Bank Account, or, if you elect to receive Loan proceeds by check through the mail,
   the date we issue the check (the "Effective Date"). You will be charged interest on the unpaid amount of the Loan
   each day from the Effective Date until the Loan is paid in full. In calculating your payments, we have assumed you
   will make each payment on the day and in the amount due. If any payment is received after the payment due date, you
   must pay any additional interest that accrues after such date. If any payment is made before the payment due date, the
   interest due will be reduced. The amount of this decrease or increase in interest due will be reflected in the final
   payment that is due. Time is of the essence, which means that there are no grace periods for when payments must be
   made. If any payment is due on a day on which your bank is not open, then such payment shall be due on the next day
   upon which your bank is open.

   VERIFICATION: You authorize us to verify the information you provided to us in connection with your Loan
   application. You give us consent to obtain information about you from a consumer reporting agency or other sources.
   We reserve the right to withhold funding of this Loan, at any time prior to disbursement, to allow us to verify the
   information you have provided to us.

   ACH AUTHORIZATION TO CREDIT BANK ACCOUNT: Unless the proceeds of this Agreement are applied to
   any outstanding loan balance that you may owe to us, and you do not elect to receive the Loan proceeds by check
   through regular mail, you authorize us and our agents to initiate an Automated Clearing House ("ACH") credit entry
   to your Bank Account to disburse the proceeds of this Loan.

   ACH AUTHORIZATION TO DEBIT BANK ACCOUNT: Unless you chose to mail to us a check or money order
   as payment for this Loan, you authorize us, and our agents, successors, employees, and registered assigns to withdraw
   money from your Bank Account for each payment you owe us, including any returned payment charges and the total
   amount you owe if you do not pay us when you agreed in this Agreement. You agree we can withdraw money from
   your Bank Account (called an 'ACH debit entry') on each scheduled payment date shown on the Payment Schedule
   above. This right to withdraw money from your Bank Account will remain in full force until the earlier of the
   following occurs: (i) you pay us everything that you owe us under this Agreement or (ii) you tell us or the institution
   holding your Bank Account (the "Paying Bank") that we can no longer withdraw money from your Bank Account in
   enough time to let the Paying Bank or us stop taking the money out of your Bank Account. You acknowledge and
   agree that this ACH Authorization to Debit Bank Account inures to the benefit of Plain Green, LLC, its affiliates,
   agents, employees, successors, and registered assigns.

   NOTICE OF VARYING AMOUNTS: For those customers who have chosen the ACH Debit Authorization, please
   note that you have the right to receive notice of all withdrawals from your Bank Account by an ACH Debit that vary
   in amount. However, by agreeing to let us withdraw the money from your Bank Account, you agree we only have to
   tell you the range of withdrawals that we can make. The range of withdrawals will be either an amount equal to your
   installment payment or an amount equal to the outstanding balance under the Loan (which may be greater than or less
   than an installment payment based upon your payment history), plus a returned payment fee as specified below. For
   any withdrawal outside of this specified range, we will send you a notice. Therefore, by signing this Agreement
   below, you are choosing to only receive notice when a withdrawal exceeds the amount in the specified range. You
   authorize us to vary the amount of the amount of any withdrawal as needed to repay installments due on the Loan as
   modified by any partial prepayments you make.

   TERMINATING ACH DEBIT AUTHORIZATION: For those customers who have chosen the ACH Debit
   Authorization, the ACH debit authorization will remain in full force and effect until the earlier of the following
   occurs: (i) you satisfy all of your payment obligations under this Agreement or (ii) you tell us or the Paying Bank that
   we can no longer withdraw money from your Bank Account in enough time to let the Paying Bank or us stop taking
   the money out of your Bank Account. Terminating your ACH authorization does not relieve you of your obligation to

                                                                                                        000003
LoanAgreement-66772558-20130128.Html[8/3/2017 10:07:49 AM]
            Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 47 of 60 PageID# 356
   pay your Loan in full.

   REMOTELY CREATED CHECK AUTHORIZATION: If you terminate any previous ACH Debit Authorization
   you provided to us or we do not receive a payment by the Payment Due Date, you authorize us and our agents,
   successors and assigns to create and submit remotely created checks for payment to us in the amount of each payment
   owing under this Agreement, including any returned payment charges or other amounts owing to us upon acceleration
   of this Loan as a result of your Default. Your typed signature below shall constitute your authorization to us to
   authenticate remotely created checks, which are also known as demand drafts, telechecks, preauthorized drafts, or
   paper drafts. If you believe we charged your Bank Account in a manner not contemplated by this authorization, then
   please contact us. You authorize us to vary the amount of any preauthorized payment by remotely created check as
   needed to repay installments and any other payments due under this Agreement.

   PAYMENT BY CHECK OR MONEY ORDER: You may pay each payment owing under this Agreement by
   check or money order.

   CHECK CONVERSION NOTIFICATION: When you provide a check as payment, you agree we can either use
   information from your check to make a one-time electronic withdrawal from your Bank Account or to process the
   payment as a check transaction. When we use information from your check to make a withdrawal from your Bank
   Account, funds may be withdrawn from your Bank Account as soon as the same day we receive your payment and
   you will not receive your check back from your financial institution. For questions, please call our customer service
   phone number: (866) 420-7157.

   PAYMENT APPLICATION: Lender will apply your payments in the following order: (1) to any fees due, (2) to
   earned but unpaid interest, and (3) to principal amounts outstanding.

   SECURITY INTEREST DISCLOSURE: To the extent that your agreement to have us withdraw money from your
   Bank Account is deemed a security interest under the law of the Chippewa Cree Tribe, you hereby grant to us a
   security interest in such withdrawal authorization using the ACH system.

   PREPAYMENT: You may prepay all or part of the amount you owe us at any time without penalty. If you do so,
   you must pay the interest accrued on your Loan and all other amounts due up to the date of your payment.

   REFINANCE POLICY: We, in our sole discretion, will determine whether your Loan may be refinanced.

   RETURNED PAYMENT FEE: If any payment made by you on this Loan is not honored or cannot be processed for
   any reason, including not enough money in your Bank Account, you agree to pay us a fee of $30.00. You authorize us
   and our agents to make a one-time withdrawal from your Bank Account to collect this fee, if you have also selected
   the ACH Debit Authorization. Your financial institution may also impose a fee.

   DEFAULT: You will have broken your promise you made to us in this Agreement (each a "Default") if: (a) you
   provide false or misleading information about yourself, your employment, or your financial condition prior to entering
   into this Agreement, (b) if you fail to make a payment by the due date or if your payment is returned to us for any
   reason, or (c) if you file bankruptcy or become a debtor under the Federal Bankruptcy Laws.

   CONSEQUENCES OF DEFAULT: Should you not do the things you agreed to under this Agreement, we may, at
   our option, do any one or more of the following things: (a) require you to immediately pay us everything you owe us;
   (b) withdraw money from your Bank Account that was not available when we tried to withdraw it at an earlier time, if
   you have selected the ACH Debit Authorization; and (c) pursue all legally available means to collect what you owe
   us. In the event we declare all amounts owed under this Agreement immediately due because you did not pay us, then
   you further authorize us and our agents to withdraw money from your Bank Account in the full amount due under this
   Agreement, if you have selected the ACH Debit Authorization. By choosing any one of more of these, we do not give
   up our right to use another way to collect the money you owe us later. We may decide not to use any of the ways
   described above to get back the money that you owe us. If so, we do not give up our right to consider what you said
   you would do to make payment(s) and, if you fail to make those payment(s), we will consider you to be in Default.
                                                                                                       000004
LoanAgreement-66772558-20130128.Html[8/3/2017 10:07:49 AM]
               Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 48 of 60 PageID# 357

   CREDIT REPORTING: We may report information about your Loan to credit bureaus. Late payments, missed
   payments, or other things you do may be reflected on your credit report.

   RIGHT TO CANCEL: YOU MAY CANCEL THIS LOAN, WITHOUT COST TO YOU OR FURTHER
   OBLIGATION TO US, BY TELEPHONING TOLL-FREE 866-420-7157 BY 5:30 P.M. EASTERN TIME ON THE
   FIRST BANKING DAY AFTER THE EFFECTIVE DATE. YOU CAN CANCEL ONLY IF YOU SEND US BACK
   THE MONEY FROM THE LOAN WE PUT IN YOUR BANK ACCOUNT, RETURN THE LOAN PROCEEDS
   CHECK MAILED TO YOU OR WE ARE ABLE TO WITHDRAW THE AMOUNT OF YOUR LOAN FROM
   YOUR BANK ACCOUNT.

   BORROWER'S BANK CHARGES: You will not hold us or our agents responsible for any fees you must pay as a
   result of any check or withdrawal request being presented at your bank in connection with this Agreement.

   TRANSFER OF RIGHTS AND MAINTENANCE OF REGISTER: We may assign or transfer this Agreement, or
   any of our rights hereunder, to another person or entity without notice or consent from you. Regardless of any transfer,
   this Agreement shall remain exclusively subject to the laws and courts of the Chippewa-Cree Tribe. Plain Green,
   LLC, (the "Registrar") acting solely for this purpose as your irrevocably appointed agent, shall maintain at an office
   located in the United States a copy of each assignment of this Agreement delivered to it and a register (the "Register")
   for the recordation of the names and addresses of the original owner and assignees, and the amounts of principal and
   interest owing to each from time to time pursuant to the terms of this Loan. The Register may be in electronic form.
   The entries of the Register shall be conclusive, and you, the Registrar, the Lender and all of its assignees shall treat
   each person whose name is recorded in the Register pursuant to these terms as the owner of such principal and interest
   payments for all purposes of this Agreement, notwithstanding notice to the contrary. The name of the owner in the
   Register shall be available to you by written request to the Registrar at any reasonable time and from time to time
   upon reasonable prior notice. In addition to the foregoing, the Registrar shall include on the Register the names and
   addresses of those persons holding participation interests in the Loan of which it has notice. Any fees and expenses of
   the Registrar for its services shall be charged to the registered owner of the loan and not to you.

   WAIVER OF JURY TRIAL AND ARBITRATION.

   RIGHT TO OPT OUT. IF YOU DO NOT WISH YOUR ACCOUNT TO BE SUBJECT TO THIS AGREEMENT
   TO ARBITRATE, YOU MUST ADVISE US IN WRITING AT 93 MACK ROAD, SUITE 600, PO BOX 270, BOX
   ELDER, MT 59521 OR VIA E-MAIL AT SUPPORT@PLAINGREENLOANS.COM. YOU MUST CLEARLY
   PRINT OR TYPE YOUR NAME AND ACCOUNT NUMBER OR SOCIAL SECURITY NUMBER AND STATE
   THAT YOU REJECT ARBITRATION. YOU MUST GIVE WRITTEN NOTICE; IT IS NOT SUFFICIENT TO
   TELEPHONE US. WE MUST RECEIVE YOUR LETTER OR E-MAIL WITHIN SIXTY (60) DAYS AFTER THE
   DATE YOUR LOAN FUNDS OR YOUR REJECTION OF ARBITRATION WILL NOT BE EFFECTIVE. IN THE
   EVENT YOU OPT OUT OF THIS AGREEMENT TO ARBITRATE, ANY DISPUTES HEREUNDER SHALL
   NONETHELESS BE GOVERNED UNDER THE LAWS OF THE CHIPPEWA CREE TRIBE AND MUST BE
   BROUGHT WITHIN THE COURT SYSTEM THEREOF.

   PLEASE READ THIS PROVISION OF THE AGREEMENT CAREFULLY. Unless you exercise your right to
   opt-out of arbitration in the manner described above, any dispute you have with Lender or anyone else under this
   Agreement will be resolved by binding arbitration. Arbitration replaces the right to go to court, including the right to
   have a jury, to engage in discovery (except as may be provided in the arbitration rules), and to participate in a class
   action or similar proceeding. In arbitration, a dispute is resolved by an arbitrator instead of a judge or jury. Arbitration
   procedures are simpler and more limited than court procedures. Any arbitration will be limited to addressing your
   dispute individually and will not be part of a class-wide or consolidated arbitration proceeding.

   Agreement to Arbitrate. You agree that any Dispute (defined below) will be resolved by arbitration in accordance
   with Chippewa Cree tribal law.

   Arbitration Defined. Arbitration is a means of having an independent third party resolve a Dispute. A "Dispute" is
                                                                                                     000005
LoanAgreement-66772558-20130128.Html[8/3/2017 10:07:49 AM]
              Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 49 of 60 PageID# 358
   any controversy or claim between you and Lender, its marketing agent, collection agent, any subsequent holder of this
   Note, or any of their respective agents, affiliates, assigns, employees, officers, managers, members or shareholders
   (each considered a "Holder" for purposes of this Agreement). The term Dispute is to be given its broadest possible
   meaning and includes, without limitation, all claims or demands (whether past, present, or future, including events
   that occurred prior to the opening of this Account), based on any legal or equitable theory (tort, contract, or
   otherwise), and regardless of the type of relief sought (i.e. money, injunctive relief, or declaratory relief). A Dispute
   includes, by way of example and without limitation, any claim arising from, related to or based upon marketing or
   solicitations to obtain the loan and the handling or servicing of your account whether such Dispute is based on a tribal,
   federal or state constitution, statute, ordinance, regulation, or common law, and including any issue concerning the
   validity, enforceability, or scope of this loan or the Agreement to Arbitrate.

   You acknowledge and agree that by entering into this Arbitration Provision:

   (a) YOU ARE GIVING UP YOUR RIGHT TO HAVE A TRIAL BY JURY TO RESOLVE ANY DISPUTE
   ALLEGED AGAINST US OR RELATED THIRD PARTIES;

   (b) YOU ARE GIVING UP YOUR RIGHT TO HAVE A COURT RESOLVE ANY DISPUTE ALLEGED
   AGAINST US OR RELATED THIRD PARTIES; and

   (c) YOU ARE GIVING UP YOUR RIGHT TO SERVE AS A REPRESENTATIVE, AS A PRIVATE
   ATTORNEY GENERAL, OR IN ANY OTHER REPRESENTATIVE CAPACITY, AND/OR TO
   PARTICIPATE AS A MEMBER OF A CLASS OF CLAIMANTS, IN ANY LAWSUIT FILED AGAINST US
   AND/OR RELATED THIRD PARTIES.

   Choice of Arbitrator. Any party to a Dispute, including a Holder or its related third parties, may send the other party
   written notice by certified mail return receipt requested at the address appearing at the top of this Agreement of their
   intent to arbitrate and setting forth the subject of the dispute along with the relief requested, even if a lawsuit has been
   filed. Regardless of who demands arbitration, you shall have the right to select any of the following arbitration
   organizations to administer the arbitration: the American Arbitration Association (1-800-778-7879)
   http://www.adr.org; JAMS (1-800-352-5267) http://www.jamsadr.com; or an arbitration organization agreed upon by
   you and the other parties to the Dispute. The arbitration will be governed by the chosen arbitration organization's rules
   and procedures applicable to consumer disputes, to the extent that those rules and procedures do not contradict either
   the law of the Chippewa Cree Tribe or the express terms of this Agreement to Arbitrate, including the limitations on
   the Arbitrator below. The party receiving notice of Arbitration will respond in writing by certified mail return receipt
   requested within twenty (20) days. You understand that if you demand Arbitration, you must inform us of your
   demand and of the arbitration organization you have selected. You also understand that if you fail to notify us, then
   we have the right to select the arbitration organization. Any arbitration under this Agreement may be conducted either
   on tribal land or within thirty miles of your residence, at your choice, provided that this accommodation for you shall
   not be construed in any way (a) as a relinquishment or waiver of the Chippewa Cree's Tribes sovereign status or
   immunity, or (b) to allow for the application of any law other than the law of the Chippewa Cree Tribe.

   Cost of Arbitration. We will pay the filing fee and any costs or fees charged by the arbitrator regardless of which
   party initiates the arbitration. Except where otherwise provided by the law of the Chippewa Cree Tribe, each party
   will be responsible for its own attorneys' fees and other expenses. Unless prohibited by law, the arbitrator may award
   fees, costs, and reasonable attorneys' fees to the party who substantially prevails in the arbitration.

   Waiver of Jury Trial and Waiver of Ability to Participate in a Class Action. YOU HEREBY AGREE THAT
   YOU ARE WAIVING YOUR RIGHT TO A JURY TRIAL, TO HAVE A COURT DECIDE YOUR DISPUTE,
   AND YOU ARE WAIVING YOUR ABILITY TO SERVE AS A REPRESENTATIVE, AS A PRIVATE
   ATTORNEY GENERAL, TO PARTICIPATE IN A CLASS ACTION LAWSUIT, OR IN ANY OTHER
   REPRESENTATIVE CAPACITY FOR OTHERS IN THE ARBITRATION, AND TO CERTAIN DISCOVERY
   AND OTHER PROCEDURES THAT WOULD BE AVAILABLE IN A LAWSUIT. The arbitrator has the ability to
   award all remedies available under the Chippewa Cree Tribe's tribal law, whether at law or in equity, to the prevailing
   party, except that the parties agree that the arbitrator has no authority to conduct class-wide proceedings and will be
                                                                                                          000006
LoanAgreement-66772558-20130128.Html[8/3/2017 10:07:49 AM]
              Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 50 of 60 PageID# 359
   restricted to resolving the individual Disputes between the parties. The validity, effect, and enforceability of this
   waiver of class action lawsuit and class-wide arbitration is to be determined solely by a court of competent jurisdiction
   located within the Chippewa Cree Tribe, and not by the arbitrator. If the court refuses to enforce the class-wide
   arbitration waiver, or if the arbitrator fails or refuses to enforce the waiver of class-wide arbitration, the parties agree
   that the Dispute will proceed in tribal court and will be decided by a tribal court judge, sitting without a jury, under
   applicable court rules and procedures and may be enforced by such court through any measures or reciprocity
   provisions available.

   Applicable Law and Judicial Review. THIS AGREEMENT TO ARBITRATE IS MADE PURSUANT TO A
   TRANSACTION INVOLVING THE INDIAN COMMERCE CLAUSE OF THE CONSTITUTION OF THE
   UNITED STATES OF AMERICA, AND SHALL BE GOVERNED BY THE LAW OF THE CHIPPEWA CREE
   TRIBE. The arbitrator will apply the laws of the Chippewa Cree Tribe and the terms of this Agreement, including the
   Agreement to Arbitrate. The arbitrator must apply the terms of this Agreement to Arbitrate, including without
   limitation the waiver of class-wide arbitration. The arbitrator may decide, with or without a hearing, any motion that is
   substantially similar to a motion to dismiss for failure to state a claim or a motion for summary judgment. If allowed
   by statute or applicable law, the arbitrator may award statutory damages and/or reasonable attorneys' fees and
   expenses. The arbitrator will make written findings and the arbitrator's award may be filed with the tribal court. The
   arbitration award will be supported by substantial evidence and must be consistent with this Agreement and applicable
   law or may be set aside by the tribal court upon judicial review.

   Other Provisions. This Agreement to Arbitrate will survive: (i) termination or changes in this Agreement, the
   Account, or the relationship between us concerning the Account; (ii) the bankruptcy of any party; and (iii) any
   transfer, sale or assignment of my Note, or any amounts owed on my account, to any other person or entity. This
   Agreement to Arbitrate benefits and is binding upon you, your respective heirs, successors and assigns. It also benefits
   and is binding upon us, our successors and assigns, and related third parties. The Agreement to Arbitrate continues in
   full force and effect, even if your obligations have been paid or discharged through bankruptcy. The Agreement to
   Arbitrate survives any termination, amendment, expiration, or performance of any transaction between you and us and
   continues in full force and effect unless you and we otherwise agree in writing. If any of this Agreement to Arbitrate is
   held invalid, the remainder shall remain in effect.

   GOVERNING LAW. This Agreement and the Agreement to Arbitrate are governed by the Indian Commerce Clause
   of the Constitution of the United States of America and the laws of the Chippewa Cree Tribe. We do not have a
   presence in Montana or any other state of the United States of America. Neither this Agreement nor the Lender is
   subject to the laws of any state of the United States.

   TELEPHONE CALLS. You hereby agree that in the event we need to contact you to discuss your account or the
   repayment of your Loan, we may call you at any number, including any cell phone number you have provided, and
   that we may leave an autodialed or prerecorded message or use other technology (including, but not limited to, SMS
   messaging or other text messaging) to contact or to communicate with you.

   VERIFICATION. You authorize us to verify all of the information you have provided in obtaining approval of this
   Loan.

   This Agreement includes a Waiver of Jury Trial and Arbitration Provision that may be enforced by you and
   us. By signing this Agreement you agree that it was filled in before you did so and that you have received a completed
   copy of it. You further agree that you have read and understand all of the terms of this Agreement, including
   the part entitled "Waiver of Jury Trial and Arbitration Provision."

   By electronically signing this Agreement you certify that the information given in connection with this Agreement is
   true and correct. You authorize us to verify the information given in connection with this Agreement, and you give us
   consent to obtain information about you from a consumer reporting agency or other sources. You acknowledge,
   represent and warrant that (a) you have read, understand, and agree to all of the terms and conditions of this
   Agreement, including the Disclosures and the Arbitration Agreement and Waiver of Jury Trial, (b) this Agreement
   contains all of the terms of the agreement between you and us and that no representations or promises other than
                                                                                                      000007
LoanAgreement-66772558-20130128.Html[8/3/2017 10:07:49 AM]
             Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 51 of 60 PageID# 360
   those contained in this Agreement have been made, (c) you specifically authorize withdrawals and deposits to and
   from your Bank Account as described in this Agreement, if you have selected the ACH Debit Authorization, (d) you
   are not a debtor under any proceeding in Bankruptcy and have no intention to file a petition for relief under any
   chapter of the United States Bankruptcy Code, (e) this Agreement was filled in before you signed it, and (f) you
   have the ability to print or retain a completed copy of this Agreement. You further acknowledge that we may
   withhold funding of your Loan until we check to make sure all the information you gave us on your application is
   true and we decide whether you meet our requirements to receive the Loan.


     ✔
       By checking here you authorize us to verify all of the information that you have provided, including past and/or
   current information. You certify that you have made or will make all payments on any previous loans with
   Lender, and you agree that Lender may cancel this loan if any payment on your previous loans is not made or
   is returned unpaid. You agree that we may obtain information about you and your Bank Account from your Bank
   and/or consumer reporting agencies until all amounts owing pursuant to this Agreement are paid in full. If there is any
   missing or erroneous information in or with your loan application regarding your bank, bank routing number, or
   account number, then you authorize us to verify and correct such information.


    Please review and select one of these funding options:
        ELECTRONIC (as soon as the next business day): By checking here you authorize us to effect ACH debit and
    credit entries for this Loan and you agree to the ACH Authorization set forth in this Agreement. You acknowledge
    and agree that the ACH Authorization inures to the benefit of Plain Green, LLC, its affiliates, agents, representatives,
    employees, successors, and registered assigns. You agree that the ACH Authorization is subject to our approving this
    Agreement. If you agree to the ACH Authorization in this Agreement and authorize debit and credit entries for this
    Loan, you also agree that the ACH Authorization set forth in this Agreement is to remain in full force and effect for
    this Loan until your indebtedness to us for the unpaid principal balance of this Loan, plus accrued interest (including
    interest owing on past due amounts) and fees, is fully satisfied. If you revoke your ACH Authorization, you agree to
    provide us with another means of payment acceptable to us in our sole discretion. Check this box if you agree to the
    ACH Authorization in this Agreement.

       POSTAL MAIL (up to 7 to 10 days): By checking here, you request Loan proceeds be distributed to you by
    check and delivered by regular mail through the United States Postal System. If you elect to receive your proceeds by
    mail, you must also make your payments via money order or certified check by mail as explained in the "Payments"
    section above. You should allow 7 to 10 days for delivery of the Loan proceeds, and you acknowledge that your
    Loan proceeds check may not be mailed to you until your "Right of Rescission" (as described above) has expired.
    You acknowledge that interest begins accruing on the Effective Date set forth at the top of this Agreement. If you
    have elected to receive your Loan proceeds by check, the ACH Authorization set forth above does not apply to the
    funding or repayment of your Loan.

    Plain Green, LLC
                                                             Date:
                                                             1/28/2013
    By: Billi Anne Raining Bird-Morsette, CEO
    Your Full Name:               Type 'I Agree':                   Date:
    Lawrence Mwethuku             I agree                           1/28/2013




                                                                                                         000008
LoanAgreement-66772558-20130128.Html[8/3/2017 10:07:49 AM]
Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 52 of 60 PageID# 361




                      EXHIBIT M
               Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 53 of 60 PageID# 362


   THIS AGREEMENT SHALL NOT CONSTITUTE A "NEGOTIABLE INSTRUMENT"




   CONSUMER LOAN AGREEMENT
   Loan Number: 65500641
   Plain Green, LLC
   93 Mack Road, Suite 600
   PO Box 270
   Box Elder, MT 59521

   Borrower's Information:

    Lender: Plain Green, LLC                                 Borrower's Name:
                                                             Lawrence Mwethuku
    Origination Date: 10/1/2012                              Borrower's ID:
    This is the date you signed and submitted this loan
    agreement to the lender.
    Effective Date: 10/3/2012                                Borrower's Address:
    The date you begin to pay interest on the loan.

    Final Payment Due Date:                                  Borrower's Bank and Account Number for ACH Transfers
    9/3/2013                                                 (the "Bank Account"):

   This Loan Agreement (the "Agreement") is subject solely to the exclusive laws and jurisdiction of the
   Chippewa Cree Tribe of the Rocky Boy's Indian Reservation, Montana ("Chippewa Cree"). In this Agreement,
   "you" and "your" refer to the Borrower identified above. "We", "us", "our", and Lender refer to Plain Green, LLC, a
   lender authorized by the laws of the Chippewa Cree. "Loan" means this consumer installment loan. By executing this
   Agreement, you hereby acknowledge and consent to be bound to the terms of this Agreement, consent to the sole
   subject matter and personal jurisdiction of the Chippewa Cree Tribal Court, and further agree that no other state or
   federal law or regulation shall apply to this Agreement, its enforcement or interpretation.

   TRUTH IN LENDING DISCLOSURES: The disclosures below are provided to you so that you may compare the cost
   of this loan to other loan products you might obtain in the United States. Our inclusion of these disclosures does not
   mean that we or any subsequent holder of this Agreement consent to application of state or federal law to us, to the
   Loan, or this Agreement.




          ANNUAL          FINANCE CHARGE             Amount Financed                Total of Payments
       PERCENTAGE          The dollar amount        The amount of credit   The amount you will have paid after you
            RATE           the credit will cost provided to you or on your have made all payments as scheduled.
       The cost of your            you.                   behalf.                       $2,957.51
       credit as a yearly       $1,957.51                $1,000.00
              rate.
                                              Ex. M
                                              PG - Motion to Dismiss                             000001
LoanAgreement-65500641-20121001.Html[8/3/2017 10:06:56 AM]
               Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 54 of 60 PageID# 363
                                                 Truth-In-Lending Disclosures


          ANNUAL            FINANCE CHARGE             Amount Financed                    Total of Payments
       PERCENTAGE             The dollar amount       The amount of credit      The amount you will have paid after you
            RATE              the credit will cost provided to you or on your have made all payments as scheduled.
       The cost of your               you.                   behalf.                          $2,957.51
       credit as a yearly          $1,957.51               $1,000.00
              rate.
           299.17%
     Your payment schedule (the "Payment Schedule") will be:
      Number of Payments Amount of Payments When Payments Are Due (each, a "Payment Due Date")
                                                                  10/16/2012, 10/30/2012,
                                                                  11/13/2012, 11/27/2012,
                                                                  12/11/2012, 12/25/2012,
                                                                     1/8/2013, 1/22/2013,
                                                                     2/5/2013, 2/19/2013,
                                                                     3/5/2013, 3/19/2013,
                23                   $123.25
                                                                     4/2/2013, 4/16/2013,
                                                                    4/30/2013, 5/14/2013,
                                                                    5/28/2013, 6/11/2013,
                                                                     6/25/2013, 7/9/2013,
                                                                     7/23/2013, 8/6/2013,
                                                                          8/20/2013
                 1                   $122.76                               9/3/2013
     PREPAYMENT: If you pay off the Loan early, you will not have to pay a penalty, and you may be entitled to a
     refund of part of the finance charge.

     SECURITY INTEREST: If you have chosen the ACH Debit Authorization option, your ACH authorization is
     security for this loan.

     See the Loan Agreement for any additional information about nonpayment, default, any required repayment in full
     before the scheduled date and prepayment penalties.
    Itemization of Amount Financed:                                                                            $1,000.00
      Amount given to you directly:                                                                            $1,000.00
   PROMISE TO PAY: You promise to pay to the order of Lender or any registered assignee of this Agreement the
   principal sum of $1,000.00 plus interest from the date of this Loan at the rate of 299.9935% per year until this Loan is
   repaid in full. You promise to pay these amounts on the dates listed in the Payment Schedule above. You also promise
   to pay to us or to any subsequent holder of this Agreement any other fees provided for under this Agreement.

   PAYMENTS: You promise to pay the amount of the Total of Payments shown above on or before the Payment Due
   Date. If you have chosen the ACH Debit Authorization option, you must make arrangements with us by 5:00 PM
   Eastern Time, on the business day prior to the Payment Due Date, so an authorized ACH entry is not initiated. If you
   choose to mail a payment, (i) all payments shall be mailed to PO Box 270, Box Elder, MT 59521, (ii) payment must
   reach this address by the Payment Due Date, and (iii) you should notify us prior to 5:00 PM Eastern Time the business
   day prior to Payment Due Date so an authorized ACH entry is not initiated prior to receipt of the payment. In addition,
   you agree that we cannot make and have not made the Loan contingent upon your obtaining any other product or
   service from us or anyone else. If you have chosen to receive your loan proceeds via check please mail your payments
   by the dates indicated within "When Payments Are Due" section of this Agreement to 93 Mack Road, Suite 600, PO
   Box 270, Box Elder, MT 59521.
                                                                                                        000002
LoanAgreement-65500641-20121001.Html[8/3/2017 10:06:56 AM]
               Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 55 of 60 PageID# 364
   CALCULATION OF INTEREST AND PAYMENTS: The interest charged hereunder is calculated using the
   simple interest method and has been computed upon the basis that you will pay all installments on the scheduled
   Payment Dates. Interest shall not be payable in advance or compounded.

   WHEN YOU BEGIN PAYING INTEREST: You begin to pay us interest on the Loan on the date the proceeds of
   the Loan are deposited into your Bank Account, or, if you elect to receive Loan proceeds by check through the mail,
   the date we issue the check (the "Effective Date"). You will be charged interest on the unpaid amount of the Loan
   each day from the Effective Date until the Loan is paid in full. In calculating your payments, we have assumed you
   will make each payment on the day and in the amount due. If any payment is received after the payment due date, you
   must pay any additional interest that accrues after such date. If any payment is made before the payment due date, the
   interest due will be reduced. The amount of this decrease or increase in interest due will be reflected in the final
   payment that is due. Time is of the essence, which means that there are no grace periods for when payments must be
   made. If any payment is due on a day on which your bank is not open, then such payment shall be due on the next day
   upon which your bank is open.

   VERIFICATION: You authorize us to verify the information you provided to us in connection with your Loan
   application. You give us consent to obtain information about you from a consumer reporting agency or other sources.
   We reserve the right to withhold funding of this Loan, at any time prior to disbursement, to allow us to verify the
   information you have provided to us.

   ACH AUTHORIZATION TO CREDIT BANK ACCOUNT: Unless the proceeds of this Agreement are applied to
   any outstanding loan balance that you may owe to us, and you do not elect to receive the Loan proceeds by check
   through regular mail, you authorize us and our agents to initiate an Automated Clearing House ("ACH") credit entry
   to your Bank Account to disburse the proceeds of this Loan.

   ACH AUTHORIZATION TO DEBIT BANK ACCOUNT: Unless you chose to mail to us a check or money order
   as payment for this Loan, you authorize us, and our agents, successors, employees, and registered assigns to withdraw
   money from your Bank Account for each payment you owe us, including any returned payment charges and the total
   amount you owe if you do not pay us when you agreed in this Agreement. You agree we can withdraw money from
   your Bank Account (called an 'ACH debit entry') on each scheduled payment date shown on the Payment Schedule
   above. This right to withdraw money from your Bank Account will remain in full force until the earlier of the
   following occurs: (i) you pay us everything that you owe us under this Agreement or (ii) you tell us or the institution
   holding your Bank Account (the "Paying Bank") that we can no longer withdraw money from your Bank Account in
   enough time to let the Paying Bank or us stop taking the money out of your Bank Account. You acknowledge and
   agree that this ACH Authorization to Debit Bank Account inures to the benefit of Plain Green, LLC, its affiliates,
   agents, employees, successors, and registered assigns.

   NOTICE OF VARYING AMOUNTS: For those customers who have chosen the ACH Debit Authorization, please
   note that you have the right to receive notice of all withdrawals from your Bank Account by an ACH Debit that vary
   in amount. However, by agreeing to let us withdraw the money from your Bank Account, you agree we only have to
   tell you the range of withdrawals that we can make. The range of withdrawals will be either an amount equal to your
   installment payment or an amount equal to the outstanding balance under the Loan (which may be greater than or less
   than an installment payment based upon your payment history), plus a returned payment fee as specified below. For
   any withdrawal outside of this specified range, we will send you a notice. Therefore, by signing this Agreement
   below, you are choosing to only receive notice when a withdrawal exceeds the amount in the specified range. You
   authorize us to vary the amount of the amount of any withdrawal as needed to repay installments due on the Loan as
   modified by any partial prepayments you make.

   TERMINATING ACH DEBIT AUTHORIZATION: For those customers who have chosen the ACH Debit
   Authorization, the ACH debit authorization will remain in full force and effect until the earlier of the following
   occurs: (i) you satisfy all of your payment obligations under this Agreement or (ii) you tell us or the Paying Bank that
   we can no longer withdraw money from your Bank Account in enough time to let the Paying Bank or us stop taking
   the money out of your Bank Account. Terminating your ACH authorization does not relieve you of your obligation to

                                                                                                        000003
LoanAgreement-65500641-20121001.Html[8/3/2017 10:06:56 AM]
            Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 56 of 60 PageID# 365
   pay your Loan in full.

   REMOTELY CREATED CHECK AUTHORIZATION: If you terminate any previous ACH Debit Authorization
   you provided to us or we do not receive a payment by the Payment Due Date, you authorize us and our agents,
   successors and assigns to create and submit remotely created checks for payment to us in the amount of each payment
   owing under this Agreement, including any returned payment charges or other amounts owing to us upon acceleration
   of this Loan as a result of your Default. Your typed signature below shall constitute your authorization to us to
   authenticate remotely created checks, which are also known as demand drafts, telechecks, preauthorized drafts, or
   paper drafts. If you believe we charged your Bank Account in a manner not contemplated by this authorization, then
   please contact us. You authorize us to vary the amount of any preauthorized payment by remotely created check as
   needed to repay installments and any other payments due under this Agreement.

   PAYMENT BY CHECK OR MONEY ORDER: You may pay each payment owing under this Agreement by
   check or money order.

   CHECK CONVERSION NOTIFICATION: When you provide a check as payment, you agree we can either use
   information from your check to make a one-time electronic withdrawal from your Bank Account or to process the
   payment as a check transaction. When we use information from your check to make a withdrawal from your Bank
   Account, funds may be withdrawn from your Bank Account as soon as the same day we receive your payment and
   you will not receive your check back from your financial institution. For questions, please call our customer service
   phone number: (866) 420-7157.

   PAYMENT APPLICATION: Lender will apply your payments in the following order: (1) to any fees due, (2) to
   earned but unpaid interest, and (3) to principal amounts outstanding.

   SECURITY INTEREST DISCLOSURE: To the extent that your agreement to have us withdraw money from your
   Bank Account is deemed a security interest under the law of the Chippewa Cree Tribe, you hereby grant to us a
   security interest in such withdrawal authorization using the ACH system.

   PREPAYMENT: You may prepay all or part of the amount you owe us at any time without penalty. If you do so,
   you must pay the interest accrued on your Loan and all other amounts due up to the date of your payment.

   REFINANCE POLICY: We, in our sole discretion, will determine whether your Loan may be refinanced.

   RETURNED PAYMENT FEE: If any payment made by you on this Loan is not honored or cannot be processed for
   any reason, including not enough money in your Bank Account, you agree to pay us a fee of $30.00. You authorize us
   and our agents to make a one-time withdrawal from your Bank Account to collect this fee, if you have also selected
   the ACH Debit Authorization. Your financial institution may also impose a fee.

   DEFAULT: You will have broken your promise you made to us in this Agreement (each a "Default") if: (a) you
   provide false or misleading information about yourself, your employment, or your financial condition prior to entering
   into this Agreement, (b) if you fail to make a payment by the due date or if your payment is returned to us for any
   reason, or (c) if you file bankruptcy or become a debtor under the Federal Bankruptcy Laws.

   CONSEQUENCES OF DEFAULT: Should you not do the things you agreed to under this Agreement, we may, at
   our option, do any one or more of the following things: (a) require you to immediately pay us everything you owe us;
   (b) withdraw money from your Bank Account that was not available when we tried to withdraw it at an earlier time, if
   you have selected the ACH Debit Authorization; and (c) pursue all legally available means to collect what you owe
   us. In the event we declare all amounts owed under this Agreement immediately due because you did not pay us, then
   you further authorize us and our agents to withdraw money from your Bank Account in the full amount due under this
   Agreement, if you have selected the ACH Debit Authorization. By choosing any one of more of these, we do not give
   up our right to use another way to collect the money you owe us later. We may decide not to use any of the ways
   described above to get back the money that you owe us. If so, we do not give up our right to consider what you said
   you would do to make payment(s) and, if you fail to make those payment(s), we will consider you to be in Default.
                                                                                                       000004
LoanAgreement-65500641-20121001.Html[8/3/2017 10:06:56 AM]
               Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 57 of 60 PageID# 366

   CREDIT REPORTING: We may report information about your Loan to credit bureaus. Late payments, missed
   payments, or other things you do may be reflected on your credit report.

   RIGHT TO CANCEL: YOU MAY CANCEL THIS LOAN, WITHOUT COST TO YOU OR FURTHER
   OBLIGATION TO US, BY TELEPHONING TOLL-FREE 866-420-7157 BY 5:30 P.M. EASTERN TIME ON THE
   FIRST BANKING DAY AFTER THE EFFECTIVE DATE. YOU CAN CANCEL ONLY IF YOU SEND US BACK
   THE MONEY FROM THE LOAN WE PUT IN YOUR BANK ACCOUNT, RETURN THE LOAN PROCEEDS
   CHECK MAILED TO YOU OR WE ARE ABLE TO WITHDRAW THE AMOUNT OF YOUR LOAN FROM
   YOUR BANK ACCOUNT.

   BORROWER'S BANK CHARGES: You will not hold us or our agents responsible for any fees you must pay as a
   result of any check or withdrawal request being presented at your bank in connection with this Agreement.

   TRANSFER OF RIGHTS AND MAINTENANCE OF REGISTER: We may assign or transfer this Agreement, or
   any of our rights hereunder, to another person or entity without notice or consent from you. Regardless of any transfer,
   this Agreement shall remain exclusively subject to the laws and courts of the Chippewa-Cree Tribe. Plain Green,
   LLC, (the "Registrar") acting solely for this purpose as your irrevocably appointed agent, shall maintain at an office
   located in the United States a copy of each assignment of this Agreement delivered to it and a register (the "Register")
   for the recordation of the names and addresses of the original owner and assignees, and the amounts of principal and
   interest owing to each from time to time pursuant to the terms of this Loan. The Register may be in electronic form.
   The entries of the Register shall be conclusive, and you, the Registrar, the Lender and all of its assignees shall treat
   each person whose name is recorded in the Register pursuant to these terms as the owner of such principal and interest
   payments for all purposes of this Agreement, notwithstanding notice to the contrary. The name of the owner in the
   Register shall be available to you by written request to the Registrar at any reasonable time and from time to time
   upon reasonable prior notice. In addition to the foregoing, the Registrar shall include on the Register the names and
   addresses of those persons holding participation interests in the Loan of which it has notice. Any fees and expenses of
   the Registrar for its services shall be charged to the registered owner of the loan and not to you.

   WAIVER OF JURY TRIAL AND ARBITRATION.

   RIGHT TO OPT OUT. IF YOU DO NOT WISH YOUR ACCOUNT TO BE SUBJECT TO THIS AGREEMENT
   TO ARBITRATE, YOU MUST ADVISE US IN WRITING AT 93 MACK ROAD, SUITE 600, PO BOX 270, BOX
   ELDER, MT 59521 OR VIA E-MAIL AT SUPPORT@PLAINGREENLOANS.COM. YOU MUST CLEARLY
   PRINT OR TYPE YOUR NAME AND ACCOUNT NUMBER OR SOCIAL SECURITY NUMBER AND STATE
   THAT YOU REJECT ARBITRATION. YOU MUST GIVE WRITTEN NOTICE; IT IS NOT SUFFICIENT TO
   TELEPHONE US. WE MUST RECEIVE YOUR LETTER OR E-MAIL WITHIN SIXTY (60) DAYS AFTER THE
   DATE YOUR LOAN FUNDS OR YOUR REJECTION OF ARBITRATION WILL NOT BE EFFECTIVE. IN THE
   EVENT YOU OPT OUT OF THIS AGREEMENT TO ARBITRATE, ANY DISPUTES HEREUNDER SHALL
   NONETHELESS BE GOVERNED UNDER THE LAWS OF THE CHIPPEWA CREE TRIBE AND MUST BE
   BROUGHT WITHIN THE COURT SYSTEM THEREOF.

   PLEASE READ THIS PROVISION OF THE AGREEMENT CAREFULLY. Unless you exercise your right to
   opt-out of arbitration in the manner described above, any dispute you have with Lender or anyone else under this
   Agreement will be resolved by binding arbitration. Arbitration replaces the right to go to court, including the right to
   have a jury, to engage in discovery (except as may be provided in the arbitration rules), and to participate in a class
   action or similar proceeding. In arbitration, a dispute is resolved by an arbitrator instead of a judge or jury. Arbitration
   procedures are simpler and more limited than court procedures. Any arbitration will be limited to addressing your
   dispute individually and will not be part of a class-wide or consolidated arbitration proceeding.

   Agreement to Arbitrate. You agree that any Dispute (defined below) will be resolved by arbitration in accordance
   with Chippewa Cree tribal law.

   Arbitration Defined. Arbitration is a means of having an independent third party resolve a Dispute. A "Dispute" is
                                                                                                     000005
LoanAgreement-65500641-20121001.Html[8/3/2017 10:06:56 AM]
              Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 58 of 60 PageID# 367
   any controversy or claim between you and Lender, its marketing agent, collection agent, any subsequent holder of this
   Note, or any of their respective agents, affiliates, assigns, employees, officers, managers, members or shareholders
   (each considered a "Holder" for purposes of this Agreement). The term Dispute is to be given its broadest possible
   meaning and includes, without limitation, all claims or demands (whether past, present, or future, including events
   that occurred prior to the opening of this Account), based on any legal or equitable theory (tort, contract, or
   otherwise), and regardless of the type of relief sought (i.e. money, injunctive relief, or declaratory relief). A Dispute
   includes, by way of example and without limitation, any claim arising from, related to or based upon marketing or
   solicitations to obtain the loan and the handling or servicing of your account whether such Dispute is based on a tribal,
   federal or state constitution, statute, ordinance, regulation, or common law, and including any issue concerning the
   validity, enforceability, or scope of this loan or the Agreement to Arbitrate.

   You acknowledge and agree that by entering into this Arbitration Provision:

   (a) YOU ARE GIVING UP YOUR RIGHT TO HAVE A TRIAL BY JURY TO RESOLVE ANY DISPUTE
   ALLEGED AGAINST US OR RELATED THIRD PARTIES;

   (b) YOU ARE GIVING UP YOUR RIGHT TO HAVE A COURT RESOLVE ANY DISPUTE ALLEGED
   AGAINST US OR RELATED THIRD PARTIES; and

   (c) YOU ARE GIVING UP YOUR RIGHT TO SERVE AS A REPRESENTATIVE, AS A PRIVATE
   ATTORNEY GENERAL, OR IN ANY OTHER REPRESENTATIVE CAPACITY, AND/OR TO
   PARTICIPATE AS A MEMBER OF A CLASS OF CLAIMANTS, IN ANY LAWSUIT FILED AGAINST US
   AND/OR RELATED THIRD PARTIES.

   Choice of Arbitrator. Any party to a Dispute, including a Holder or its related third parties, may send the other party
   written notice by certified mail return receipt requested at the address appearing at the top of this Agreement of their
   intent to arbitrate and setting forth the subject of the dispute along with the relief requested, even if a lawsuit has been
   filed. Regardless of who demands arbitration, you shall have the right to select any of the following arbitration
   organizations to administer the arbitration: the American Arbitration Association (1-800-778-7879)
   http://www.adr.org; JAMS (1-800-352-5267) http://www.jamsadr.com; or an arbitration organization agreed upon by
   you and the other parties to the Dispute. The arbitration will be governed by the chosen arbitration organization's rules
   and procedures applicable to consumer disputes, to the extent that those rules and procedures do not contradict either
   the law of the Chippewa Cree Tribe or the express terms of this Agreement to Arbitrate, including the limitations on
   the Arbitrator below. The party receiving notice of Arbitration will respond in writing by certified mail return receipt
   requested within twenty (20) days. You understand that if you demand Arbitration, you must inform us of your
   demand and of the arbitration organization you have selected. You also understand that if you fail to notify us, then
   we have the right to select the arbitration organization. Any arbitration under this Agreement may be conducted either
   on tribal land or within thirty miles of your residence, at your choice, provided that this accommodation for you shall
   not be construed in any way (a) as a relinquishment or waiver of the Chippewa Cree's Tribes sovereign status or
   immunity, or (b) to allow for the application of any law other than the law of the Chippewa Cree Tribe.

   Cost of Arbitration. We will pay the filing fee and any costs or fees charged by the arbitrator regardless of which
   party initiates the arbitration. Except where otherwise provided by the law of the Chippewa Cree Tribe, each party
   will be responsible for its own attorneys' fees and other expenses. Unless prohibited by law, the arbitrator may award
   fees, costs, and reasonable attorneys' fees to the party who substantially prevails in the arbitration.

   Waiver of Jury Trial and Waiver of Ability to Participate in a Class Action. YOU HEREBY AGREE THAT
   YOU ARE WAIVING YOUR RIGHT TO A JURY TRIAL, TO HAVE A COURT DECIDE YOUR DISPUTE,
   AND YOU ARE WAIVING YOUR ABILITY TO SERVE AS A REPRESENTATIVE, AS A PRIVATE
   ATTORNEY GENERAL, TO PARTICIPATE IN A CLASS ACTION LAWSUIT, OR IN ANY OTHER
   REPRESENTATIVE CAPACITY FOR OTHERS IN THE ARBITRATION, AND TO CERTAIN DISCOVERY
   AND OTHER PROCEDURES THAT WOULD BE AVAILABLE IN A LAWSUIT. The arbitrator has the ability to
   award all remedies available under the Chippewa Cree Tribe's tribal law, whether at law or in equity, to the prevailing
   party, except that the parties agree that the arbitrator has no authority to conduct class-wide proceedings and will be
                                                                                                          000006
LoanAgreement-65500641-20121001.Html[8/3/2017 10:06:56 AM]
              Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 59 of 60 PageID# 368
   restricted to resolving the individual Disputes between the parties. The validity, effect, and enforceability of this
   waiver of class action lawsuit and class-wide arbitration is to be determined solely by a court of competent jurisdiction
   located within the Chippewa Cree Tribe, and not by the arbitrator. If the court refuses to enforce the class-wide
   arbitration waiver, or if the arbitrator fails or refuses to enforce the waiver of class-wide arbitration, the parties agree
   that the Dispute will proceed in tribal court and will be decided by a tribal court judge, sitting without a jury, under
   applicable court rules and procedures and may be enforced by such court through any measures or reciprocity
   provisions available.

   Applicable Law and Judicial Review. THIS AGREEMENT TO ARBITRATE IS MADE PURSUANT TO A
   TRANSACTION INVOLVING THE INDIAN COMMERCE CLAUSE OF THE CONSTITUTION OF THE
   UNITED STATES OF AMERICA, AND SHALL BE GOVERNED BY THE LAW OF THE CHIPPEWA CREE
   TRIBE. The arbitrator will apply the laws of the Chippewa Cree Tribe and the terms of this Agreement, including the
   Agreement to Arbitrate. The arbitrator must apply the terms of this Agreement to Arbitrate, including without
   limitation the waiver of class-wide arbitration. The arbitrator may decide, with or without a hearing, any motion that is
   substantially similar to a motion to dismiss for failure to state a claim or a motion for summary judgment. If allowed
   by statute or applicable law, the arbitrator may award statutory damages and/or reasonable attorneys' fees and
   expenses. The arbitrator will make written findings and the arbitrator's award may be filed with the tribal court. The
   arbitration award will be supported by substantial evidence and must be consistent with this Agreement and applicable
   law or may be set aside by the tribal court upon judicial review.

   Other Provisions. This Agreement to Arbitrate will survive: (i) termination or changes in this Agreement, the
   Account, or the relationship between us concerning the Account; (ii) the bankruptcy of any party; and (iii) any
   transfer, sale or assignment of my Note, or any amounts owed on my account, to any other person or entity. This
   Agreement to Arbitrate benefits and is binding upon you, your respective heirs, successors and assigns. It also benefits
   and is binding upon us, our successors and assigns, and related third parties. The Agreement to Arbitrate continues in
   full force and effect, even if your obligations have been paid or discharged through bankruptcy. The Agreement to
   Arbitrate survives any termination, amendment, expiration, or performance of any transaction between you and us and
   continues in full force and effect unless you and we otherwise agree in writing. If any of this Agreement to Arbitrate is
   held invalid, the remainder shall remain in effect.

   GOVERNING LAW. This Agreement and the Agreement to Arbitrate are governed by the Indian Commerce Clause
   of the Constitution of the United States of America and the laws of the Chippewa Cree Tribe. We do not have a
   presence in Montana or any other state of the United States of America. Neither this Agreement nor the Lender is
   subject to the laws of any state of the United States.

   TELEPHONE CALLS. You hereby agree that in the event we need to contact you to discuss your account or the
   repayment of your Loan, we may call you at any number, including any cell phone number you have provided, and
   that we may leave an autodialed or prerecorded message or use other technology (including, but not limited to, SMS
   messaging or other text messaging) to contact or to communicate with you.

   VERIFICATION. You authorize us to verify all of the information you have provided in obtaining approval of this
   Loan.

   This Agreement includes a Waiver of Jury Trial and Arbitration Provision that may be enforced by you and
   us. By signing this Agreement you agree that it was filled in before you did so and that you have received a completed
   copy of it. You further agree that you have read and understand all of the terms of this Agreement, including
   the part entitled "Waiver of Jury Trial and Arbitration Provision."

   By electronically signing this Agreement you certify that the information given in connection with this Agreement is
   true and correct. You authorize us to verify the information given in connection with this Agreement, and you give us
   consent to obtain information about you from a consumer reporting agency or other sources. You acknowledge,
   represent and warrant that (a) you have read, understand, and agree to all of the terms and conditions of this
   Agreement, including the Disclosures and the Arbitration Agreement and Waiver of Jury Trial, (b) this Agreement
   contains all of the terms of the agreement between you and us and that no representations or promises other than
                                                                                                      000007
LoanAgreement-65500641-20121001.Html[8/3/2017 10:06:56 AM]
             Case 3:17-cv-00495-MHL Document 27-3 Filed 09/19/17 Page 60 of 60 PageID# 369
   those contained in this Agreement have been made, (c) you specifically authorize withdrawals and deposits to and
   from your Bank Account as described in this Agreement, if you have selected the ACH Debit Authorization, (d) you
   are not a debtor under any proceeding in Bankruptcy and have no intention to file a petition for relief under any
   chapter of the United States Bankruptcy Code, (e) this Agreement was filled in before you signed it, and (f) you
   have the ability to print or retain a completed copy of this Agreement. You further acknowledge that we may
   withhold funding of your Loan until we check to make sure all the information you gave us on your application is
   true and we decide whether you meet our requirements to receive the Loan.


     ✔
       By checking here you authorize us to verify all of the information that you have provided, including past and/or
   current information. You certify that you have made or will make all payments on any previous loans with
   Lender, and you agree that Lender may cancel this loan if any payment on your previous loans is not made or
   is returned unpaid. You agree that we may obtain information about you and your Bank Account from your Bank
   and/or consumer reporting agencies until all amounts owing pursuant to this Agreement are paid in full. If there is any
   missing or erroneous information in or with your loan application regarding your bank, bank routing number, or
   account number, then you authorize us to verify and correct such information.


    Please review and select one of these funding options:
        ELECTRONIC (as soon as the next business day): By checking here you authorize us to effect ACH debit and
    credit entries for this Loan and you agree to the ACH Authorization set forth in this Agreement. You acknowledge
    and agree that the ACH Authorization inures to the benefit of Plain Green, LLC, its affiliates, agents, representatives,
    employees, successors, and registered assigns. You agree that the ACH Authorization is subject to our approving this
    Agreement. If you agree to the ACH Authorization in this Agreement and authorize debit and credit entries for this
    Loan, you also agree that the ACH Authorization set forth in this Agreement is to remain in full force and effect for
    this Loan until your indebtedness to us for the unpaid principal balance of this Loan, plus accrued interest (including
    interest owing on past due amounts) and fees, is fully satisfied. If you revoke your ACH Authorization, you agree to
    provide us with another means of payment acceptable to us in our sole discretion. Check this box if you agree to the
    ACH Authorization in this Agreement.

       POSTAL MAIL (up to 7 to 10 days): By checking here, you request Loan proceeds be distributed to you by
    check and delivered by regular mail through the United States Postal System. If you elect to receive your proceeds by
    mail, you must also make your payments via money order or certified check by mail as explained in the "Payments"
    section above. You should allow 7 to 10 days for delivery of the Loan proceeds, and you acknowledge that your
    Loan proceeds check may not be mailed to you until your "Right of Rescission" (as described above) has expired.
    You acknowledge that interest begins accruing on the Effective Date set forth at the top of this Agreement. If you
    have elected to receive your Loan proceeds by check, the ACH Authorization set forth above does not apply to the
    funding or repayment of your Loan.

    Plain Green, LLC
                                                             Date:
                                                             10/1/2012
    By: Billi Anne Raining Bird-Morsette, CEO
    Your Full Name:               Type 'I Agree':                   Date:
    Lawrence Mwethuku             I agree                           10/1/2012




                                                                                                         000008
LoanAgreement-65500641-20121001.Html[8/3/2017 10:06:56 AM]
